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    EXHIBIT A
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                                                                                                    US010127818B2

(12) United States Patent                                                   ( 10 ) Patent No.: US 10 , 127,818 B2
         Mandeville - Clarke                                                (45) Date of Patent:    Nov . 13 , 2018
(54 ) SYSTEMS AND METHODS FOR DETECTING                                (58 ) USPC
                                                                             Field of Classification Search
      AND AVOIDING AN EMERGENCY VEHICLE                                                                                      .. 701/3
          IN THE PROXIMITY OF A SUBSTANTIALLY                                   See application file for complete search history .
          AUTONOMOUS VEHICLE
(71 ) Applicant: Ben Mandeville - Clarke , Tinbeerwah                  (56 )                         References Cited
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(72) Inventor : Ben Mandeville - Clarke, Tinbeerwah                            5 ,298 ,905 A * 3/ 1994 Dahl                 GO1S 7 /34
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(73 ) Assignee: Clear Commute Ventures Pty Ltd ,                               6 , 142 ,252 A  7 /2000 Kinto et al.
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( * ) Notice:   Subject to any disclaimer, the term of this                          FOREIGN PATENT DOCUMENTS
               patent is extended or adjusted under 35
                U . S .C . 154 (b ) by 0 days .                        DE            102013219038 A1 * 3/2015
(21) Appl. No.: 15 /626 ,077                                                                  OTHER PUBLICATIONS
(22) Filed :             Jun. 17, 2017                                 Komar english translation from google patents.*
(65 )                      Prior Publication Data
                                                                       Primary Examiner — Jean Paul Cass
          US 2018/0233047 A1 Aug. 16 , 2018
( 30 )           Foreign Application Priority Data                     (57)                              ABSTRACT
   Feb . 11 , 2017 (AU ) ................................ 2017900438   Systems and methods for identifying that an emission
                                                                       received or captured from the external environment, or a
(51) Int. Ci.                                                          received electromagnetic signal carrying a data , indicates an
          G05D 1/02                (2006 .01)                          emergency vehicle in proximity to a substantially autono
          GO6F 17 / 10             ( 2006 .01)                         mous vehicle and that the emergency vehicle occupies a
         G06G 7778                 (2006 .01)                          relative position and /or navigating a relative speed such that
          GO8G 1/ 16               ( 2006 .01)                         the substantially autonomous vehicle is a current or future
     GOIS 13 /93             (2006 .01)                                obstruction for the emergency vehicle. À system comprising
     G05D 1/ 00              ( 2006 .01 )                              at least an aspect of the substantially autonomous vehicle is
(52) U . S . CI.                                                       capable of causing themaneuver of the substantially autono
     CPC ........... . GO8G 1/ 166 ( 2013 .01); GOIS 13 / 931          mous vehicle to a position , such that substantially autono
                    (2013 .01 ) ; G05D 1 /0088 (2013 .01 ); GOIS       mous vehicle is not obstructing the emergency vehicle when
                          2013/9325 ( 2013 .01); GOIS 2013 /9342       at the position .
               (2013.01); G08G 1/16 (2013.01); GO8G  1/163
                                                 (2013 . 01)                              3 Claims, 7 Drawing Sheets




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                                 FIG . 1a
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       •         * **   **      *   **   ** *   * *     *   * ** *       *** **   *   *** ** *




                                                      FIG . 1b
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                                             sensing and




                       WWWWWWWWWWWWWWWW     WWWWWWWWWWWWWWWWWWWWWWWWWWWWWWWW




                                  FIG . 10
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    Mvw                                                                               Ww
                                  913 PL
                                  *
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                                 FIG . 2
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                                  FIG . 3
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                                                                                zát




                              FIG . 4
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                                                        US 10 ,127 ,818 B2
    SYSTEMS AND METHODS FOR DETECTING                                       In another aspect of the present disclosure , the aspect of
    AND AVOIDING AN EMERGENCY VEHICLE                                    the system    coupled to , attached to , communicatively
     IN THE PROXIMITY OF A SUBSTANTIALLY                                 coupled to , or integrated with a substantially autonomous
                      AUTONOMOUS VEHICLE                                 vehicle is operable to receive and process a request to
                                                                    5 navigate to a second pre -determined location . The process
                                                                      ing of the request may comprise performing path planning,
                                                                         mapping, positional localization , and the like. While navi
                U . S. PATENT PRIOR ART REFERENCES                       gating to the second location , the aspect of the computing
    6 ,038 ,501 A           March 2000      Kawakami
                                                                         system is operable to receive empirical data comprising one
    6 , 142, 252 A          November 2000   Kinto et al .           10 or more emissions and further analyse an aspect of the
    6 , 370 ,452 B1         April 2002      Pfister                      empirical data , wherein the analysis is based at least in part
    9 ,235 , 211 B2         January 2016    Davidsson et al.             on reference data stored in a non - transient computer -read
    9 ,373 ,149 B2          June 2016       Abhyanker                    able storage medium , wherein the reference data is pre
                                                                         programmed and /or stored in memory based on one or more
                                                                    15 learning algorithms. The aspect of the system is operable to
             CROSS REFERENCE TO RELATED                                identify that one ormore emissions comprising the empirical
                     APPLICATIONS                                        data correlates with an emergency vehicle and that the
                                                                         emergency vehicle occupies a position and/ or navigating at
   This application claims the benefit of foreign priority to            a speed such that the substantially autonomous vehicle is a
 A .U . S . provisional patent application Ser. No. 2017900438 20 current or future obstruction for the emergency vehicle . The
 filed 11 Feb . 2017. The contents of the prior applications      aspect of the system is operable to manoeuvre the substan
mentioned above are incorporated herein by reference in           tially autonomous vehicle , such that substantially autono
their entirety.                                                          mous vehicle is not obstructing the emergency vehicle after
                                                                         the manoeuvre.
               FIELD OF THE DISCLOSURE                              25      In another aspect of the present disclosure , the aspect of
                                                                         the system coupled to , attached to , communicatively
   The embodiments of the present disclosure relates to                  coupled to , or integrated with a substantially autonomous
autonomous vehicles , and more specifically to novel control             vehicle is operable to receive and process a request to
and communications technologies for one or more autono navigate to a second pre -determined location. The process
mous vehicles .                                     30 ing of the request may comprise performing path planning ,
                                                       mapping, positional localization , and the like. While navi
                 BACKGROUND                            gating to the second pre -determined location , the at least the
                                                       aspect of the system is operable to receive and process an
  Autonomous vehicles, such as vehicles which do not electromagnetic signal, wherein the electromagnetic signal
require a human driver, may be used to aid in the transport 35 comprises data comprising at least one of an alert to perform
of passengers or items from one location to another . An                 a navigational manoeuvre to avoid obstructing an emer
important component of an autonomous vehicle is the per -                gency vehicle , a position of the emergency vehicle , a param
ception system , which allows the vehicle to perceive and                eter of the emergency vehicle , a path planning data , and / or
interpret its surroundings using cameras, radar, sensors , a speed of the emergency vehicle . The aspect of the system
receivers , transmitters , transceivers , and other similar 40 is operable to manoeuvre the substantially autonomous
devices . The perception system executes numerous deci-        vehicle , such that substantially autonomous vehicle is not
sions while the autonomous vehicle is in motion , such as                obstructing the emergency vehicle after the manoeuvre. The
speeding up , slowing down , stopping , turning , etc . Autono           embodiments of the present disclosure are notmeant to limit
mous vehicles may also use the cameras , sensors , receivers ,           the spirit and scope of the present disclosure .
transmitters , transceivers , and global positioning devices to 45
gather and interpret images and sensor data about its sur                         BRIEF SUMMARY OF THE FIGURES
rounding environment, e. g., oncoming vehicles , parked cars ,
trees , buildings , etc .                                                  The concepts described herein are illustrated by way of
                                                                         example and not by way of limitation in the accompanying
      SUMMARY OF THE PRESENT DISCLOSURE                             50 figures. For simplicity and clarity only the most pertinent
                                                                         aspects and elements to the embodiments of the present
   In an aspect of the present disclosure , an aspect of a               disclosure are presented . Where considered appropriate ,
system coupled to , attached to , communicatively coupled to             reference labels have been repeated among the figures to
or integrated with a substantially autonomous vehicle is indicate corresponding or analogous elements or aspects.
operable to receive and process a request to navigate to a 55 FIG . la shows a flow diagram of a process method of the
first- pre -determined location . The processing of the request present disclosure .
may comprise performing path planning , mapping , posi -           FIG . 1b shows a flow diagram of a process method of the
tional localization , and the like. While navigating to the first        present disclosure .
location , the at least the aspect of the computing system is              FIG . 1c shows a flow diagram of a process method of the
operable to receive and process an interruption signal, 60 present disclosure .
wherein the interruption signal interrupts the requirement for FIG . 1d shows a flow diagram of a process method of the
the substantially autonomous vehicle to navigate to the first            present disclosure .
pre - determined location wherein the substantially autono -               FIG . 2 shows a flow diagram of a process method of the
mous vehicle is positionally located further than a distance             present disclosure .
from the first pre-determined location . The aspect of the 65 FIG . 3 is a schematic block diagram of various compo
system is operable to perform a path planning distinct from     nents operable to implement one or more of the process
the path planning performed to navigate to the first location . methods of the present disclosure .
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   FIG . 4 shows an example scenario wherein one or more           or more non -transient memory modules over time to be used
of the process methods of the present disclosure is substan -      in training an emergency vehicle flash classifier. The one or
tially implemented by a computing system external to the      more flash classifiers may be operable to be executed
substantially autonomous vehicle .                            singularly or in accordance or in addition with one ormore
                                                            5 other perception , sensing, classifying, or imaging systemsof
        DESCRIPTION OF THE EMBODIMENTS                        the present disclosure . However, in some instances, other
                                                              types ofmethods of capturing data to determine a proximity
   The present disclosure is at least in part directed to of an emergency vehicle to the substantially autonomous
determining that an emergency vehicle is in proximity with
a substantially autonomous vehicle and determining an 10 vehicle may be, or    more reliable or required depending on the
appropriate response, if necessary, in order to ensure the tocircumstances
                                                                 determine   a
                                                                                  other types of methods of capturing data
                                                                               proximity   of an emergency vehicle to the
substantially autonomous vehicle does not substantially substantially autonomous vehicle          may be executed simulta
obstruct the efficient navigation of the emergency vehicle . neously or substantially simultaneously     .
The present disclosure is directed to determining and
responding to the emergency vehicle within a radius of the 15         The one or more embodiments of the present disclosure
substantially autonomous vehicle , wherein the substantially may also be facilitated by one or more audio classifiers
autonomous vehicle is traveling to a second pre - determined     trained pre -determinedly to capture sound emissions and
location and wherein the determining and , if necessary, the sound patterns for various emergency vehicles in order to
response is processed and executed prior to the substantially    improve emergency vehicle detection and response . For
autonomous vehicle navigating to a position that is less than 20 example, numerous sound configurations and sound patterns
or equal to 20 .2 meters to 22 .5 meters of the second of emergency vehicles may be captured , analyzed , and /or
pre - determined location ( although this may not be deter -       stored in one or more non - transient memory modules over
mined by an algorithm to ensure full compliance ) . Facili -       time to be used in training an emergency vehicle audio
tating and enabling the aims, spirit and scope of the present classifier. The one or more audio classifiers may be operable
disclosure may involve a substantially autonomous vehicle 25 to be executed singularly or in accordance or in addition
engaging a perception , sensor, mapping and/ or imaging with one or more other perception , sensing, classifying , or
system , transceiver, receiver, transmitter, combinations     imaging systems of the present disclosure . However, in
thereof, and the like, and / or some derivative or equivalent      some instances , other types of methods of capturing data to
thereof, in order to capture images or otherwise a perception      determine a proximity of an emergency vehicle to the
or determination of the external environment surrounding 30 substantially autonomous vehicle may be more reliable or
the substantially autonomous vehicle . This process may            required depending on the circumstances, or other types of
occur once or iteratively in an arbitrary manner , or according    methods of capturing data to determine a proximity of an
to a pre - determined execution of programmatic instructions.       emergency vehicle to the substantially autonomous vehicle
The captured images or other perception / empirical data on        may be executed simultaneously or substantially simultane
the environment external to the substantially autonomous 35 ously .
vehicle may be analysed by one or more process methods               The one ormore embodiments of the present disclosure
and compared to one or more reference images , reference           may also be facilitated by one or more other classifiers
data , and/ or other perception / empirical data . Specifically,   trained pre - determinedly to capture emissions (such as
the analysis and comparison may correlate the captured             sonar, thermal, electromagnetic, infrared , laser, and the like)
empirical data images and / or other perception empirical data 40 and emissions patterns for various emergency vehicles in
with at least one of pre - defined shapes , pre - defined orien    order to improve emergency vehicle detection and response .
tations, light emission schemes , thermal radiation emission       For example one or more of sonar, thermal electromagnetic ,
schemes , radar aspects , infrared emission schemes, electro -     infrared , laser, or the like emissions patterns of emergency
magnetic emission schemes, audio emission schemes, vibra           vehicles may be captured , analyzed , and /or stored in one or
tion emission schemes, ultrasound emission schemes , sonar 45 more non - transient memory modules over time to be used in
emission schemes and/ or other emission schemes stored as          training an emergency vehicle emissions classifier of one or
one or more references for one or more emergency vehicles          more types . The one or more classifiers may be operable to
in a non -transientmemory module in order to determine if          be executed singularly or in accordance or in addition with
any aspects of the captured images and / or other captured         one or more other perception , sensing , classifying, or imag
perception /empirical data correlates with a high degree of 50 ing systems of the present disclosure .
probability with the one or more pre - defined shapes , pre -         The one or more embodiments of the present disclosure
defined orientations, light emission schemes thermal radia         may also be facilitated by one or more electromagnetic
tion emission schemes, radar aspects , infrared emission    receivers , transceivers , sensors , and the like , wherein the one
schemes , electromagnetic emission schemes , audio emission or more electromagnetic receivers , transceivers , sensors , and
schemes , ultrasound emission schemes, sonar emission 55 the like may be operable to capture one or more electro
schemes , and/ or other emissions schemes, vehicle identifi        magnetic signals and one or more processors may process
cation schemes, etc . Hence , various brief and detailed pro       the one or more captured electromagnetic signals to deter
cess methods may be executed by a processor on the                 mine that the one or more electromagnetic signals comprise
captured images or other captured perception / empirical data      one or more data packets, or other type of data such as
in order to separate true correlations with false positives . 60 empirical data from an environment external to the substan
   The one or more embodiments of the present disclosure           tially autonomous vehicle , comprising data on one or more
may also be facilitated by one or more flash classifiers           emergency vehicles located in proximity with the substan
trained pre -determinedly to capture light emissions and flash     tially autonomous vehicle . The one ormore electromagnetic
patterns for various emergency vehicles in order to improve        receivers, transceivers, sensors, and the like, may be oper
emergency vehicle detection and response . For example , 65 able to perform singularly or in conjunction or in accordance
numerous light configurations and flash patterns of emer-          or in addition with one or more other perception , sensing, or
gency vehiclesmay be captured , analyzed , and stored in one       imaging systems of the present disclosure.
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   In the present disclosure , “ a ” or “ an ” is generally syn -         may simply be capable of performing, or falling within , the
onymous with “ one or more ” . “ A ” / an " are common terms              one or more defined parameters of the present disclosure
of art that are generally held to mean “ one or more ” . For              under certain conditions or during the course of normal
example “ a processor ” means one or more processors and “ a              operation to achieve one or more results or required results
first processor ” means one processor and " a second proces- 5 without performing determining algorithms to ensure com
sor” means one processor. For example , " An aspect" means                pliance with one or more defined parameters. For example ,
one or more aspects . The aforementioned is the general                   in some embodiments , but not necessarily all embodiments ,
format that should be applied to other such terms throughout a determination algorithm may not be performed to ensure
the disclosure . Hence , “ a ” " an " should mean " one ormore "       that the substantially autonomous vehicle is positionally
unless a numerical modifier is used such as " a first . . . " , " a 10 located further than or equal to 31 to 33 .3 meters from the
second . . . ” etc .                                                   first location ; in some embodiments , but not necessarily all
  In the present disclosure , an autonomous vehicle , an               embodiments , a determination algorithm may not be per
autonomous vehicle taxi- service , or a substantially autono -            formed that indicates the substantially autonomous vehicle
mous vehicle , or a substantially autonomous vehicle taxi                 is greater than 20 . 2 to 22 .5 meters from the second location ;
service refers to a substantially self -driving car , truck , bus, 15 in some embodiments , but not necessarily all embodiments ,
motorcycle , boat, or other vehicle that allows for the ferry -           a determination algorithm may not be performed to ensure
ing or transport of a single or a plurality of human and / or             that the navigational manoeuvre is performed at a deter
non - human occupants, including commercial goods, prod -                 mined speed ofbetween 0 . 0001 km / h and 130 km /h ; in some
ucts and services , or combination thereof, from a first                  embodiments, but not necessarily all embodiments, a deter
geographical location to at least a second geographical 20 mination algorithm may not be performed to ensure that the
location over an arbitrary or pre - determined time frame,                second location is at least further than or equal to 20 .9 to
time, or time-window . An autonomous vehicle may be                       21. 3 from the first location in any direction ; in some
interchangeable with a substantially autonomous vehicle                   embodiments , but not necessarily all embodiments , a deter
and refers to Level 2 , Level 3 , Level 4 , or Level 5 classi- mination algorithm may not be performed to ensure that an
fication of autonomous vehicle as defined by the SAE 25 at least one emergency vehicle is within or less than a 200 . 02
International Standard J3016 and equivalents thereof. km radius of the substantially autonomous vehicle ; in some
Hence , the autonomous vehicle may be partially or fully        embodiments , but not necessarily all embodiments, a deter
independent of active human intervention .                                mination algorithm may not be performed to ensure that the
  In the present disclosure, an electromagnetic signal may      interruption signal interrupts the requirement for the sub
be classified as any electromagnetic signal along the elec - 30 stantially autonomous vehicle to navigate to specifically less
tromagnetic spectrum , including micro -wave , radio -wave,               than a 92 .1 to 93 .4 meter distance from the first location ; in
and the like.                                                             some embodiments , but not necessarily all embodiments , a
  In the present disclosure , a path planning that is initiated           determination algorithm may not be performed to ensure
may comprise all the information required to navigate to a                that the engaging at least in part of a braking component for
location or only part of the information required to navigate 35 a continuous portion of time is of a continuous duration of
to the location .                                                         at least 0.31 seconds and less than 2102 seconds; in some
    In the present disclosure, " towards” is to mean going                embodiments , but not necessarily all embodiments , a deter
to /on the way to , but not having yet reached ( a particular    m ination algorithm may not be performed to ensure the
destination ).                                                    substantially autonomous vehicle does not navigate to
   In the present disclosure , an internal passenger compart - 40 within or less than 20 . 2 to 22 . 5 of the second pre- determined
ment is an enclosed space inside a substantially autonomous               location for at least 7 .8 to 9 .5 seconds. Other such examples
vehicle where passengers ( e . g . human occupants , non -hu              may readily apply . Hence , to reiterate , one or more pro
man occupants , products, goods, etc .) may access via a                  grammatic instructions, and/ or one or more systems may
closable opening and reside for a period of time.             simply be capable of performing one or more functions/
   In the present disclosure , an " audio component" as it 45 operations that happen to fall within the one or more
relates to an outputting of an audio signal into an internal parameters or limitations described above or elsewhere in
passenger compartment is any audio device one or more of                  the normal course of operation ( and other such parameters
integrated with , attached to , coupled to , or communicatively           and limitations which may be relevant) .
coupled to the substantially autonomous vehicle and may                      To reiterate , In the present disclosure , " capable of” ,
include a permanent audio device permanent to a particular 50 " operable to " , or " have the capacity to ” , “ has the capacity
substantially autonomous vehicle , a substantially permanent              to ” , or “ having the capacity to " , or other variants thereof,
audio device that is substantially permanent to a particular              means programmed and/ or designed such to perform a
substantially autonomous vehicle , a temporary audio device               function but the function does not necessarily have to be
(such as a portable audio device ) temporarily attached to or             executed , but is merely capable of being executed or per
connected to a particular substantially autonomous vehicle , 55 formed . Systems, processes, components , and / or elements
and the like .                                                            that may be capable of performing a function may also be
   In the present disclosure , a sound signal may be inclusive            capable of performing one or more other functions not
of vibration , ultrasonic , sonar, and the like, and of course            explicitly described . “ Capable of” is a common term of art
further may include any type of audio signal for any type of              (and hence so are its equivalents ).
purpose .                                                            60      In the present disclosure " at least one of . . .
   In the present disclosure , the one or more component( s ),            and/or . . . ” means " all” (as defined by “ and ” and in the
system (s ), computer (s ), processor (s ), programmatic instruc -        context of “ at least one of” ) or “ one ormore” ( as defined by
tion (s), etc. may or may not execute determination algo                  “ or” and in the context of “ at least one of ) and therefore
rithms, or their equivalents or substantial equivalents       collectively “ at least one of . . . , and /or . . . ” means " all or
thereof, to ensure that one or more defined parameters are 65 one or more ” where at least two elements precede “ and / or ”
being met . One or more component( s), system (s ),                       and one element is immediately subsequent to “ and/or” . For
computer(s ), processor(s ), programmatic instruction(s ), etc .,         example , in the context of the appended claims: “ at least one
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of an alert to perform a manoeuvre to avoid obstructing                     In the present disclosure, “ captured ” means effectively
an /the emergency vehicle , an alert to perform a manoeuvre              receiving data on at least an aspect of an environment
at a pre -determined time, a position of the emergency external to the substantially autonomous vehicle via a range
vehicle, a parameter of the emergency vehicle , a path     finder, camera , imaging device , radar, sonar sensor, vibra
planning data differing at least in part from the second 5 tion sensor, ultrasound sensor, laser sensor, electromagnetic
planned path , and/or a speed of the emergency vehicle ”                 sensor, light sensor, thermal sensor, infrared sensor, combi
“ and/or” means “ all or one ormore ” . Of course , one ormore           nations thereof, equivalents thereof, and the like, as those
variants of this phrasing may be used which may mean the                 with ordinary skill in the art will readily understand and
same, as those with ordinary skill in the art will readily 10 appreciate .
                                                                 In the present disclosure, “ non - transient computer-read
understand.                                                              able storagemedium ” is a term of art that refers to a memory
  In the present disclosure “ at least one of. . . or . . . ” means      storage of some type, that may be long term , may be
“ one or both ” (as defined by “ or” and in the context of " at
least one of and wherein one element precedes “ or” and one short           -term , combinations thereof, and the like. Computer
                                                                       readable generally means readable by a processor.
element is immediately subsequent to “ or ” ). For example , in 15 In the present disclosure , " a path planning data differing
the context of the appended claims: " at least one of at least in part from the second planned path ” may simply
identify . . . or process . . . " etc . “ or ” means “ one or both ” . mean path planning data that differs at least in part from the
Of course one or more variants of this phrasing may be used second planned path as originally determined prior to the
which may mean the same, as those with ordinary skill in the             detection of the emergency vehicle and the potential
art will readily understand .                                         20 obstacle caused by the substantially autonomous vehicle to
   In the present disclosure , “ captured empirical data ” refers        the emergency vehicle. An algorithm may or may not
to data captured from an environment external to the sub                 determine whether said path planning data differing at least
stantially autonomous vehicle via a component at least one               in part from the second planned path actually does differ at
of attached to , integrated with , coupled to , and/ or commu-           least in part from the second planned path .
nicatively coupled to the substantially autonomous vehicle , 25             In the present disclosure , in the terms " an alert to perform
excluding forms of data communications network based                     a manoeuvre to avoid obstructing an / the emergency vehicle "
data .                                                                   and " an alert to perform a manoeuvre at a pre - determined
   In the present disclosure , “ a ” / an ” may be used inter -          time” , the respective phrases : “ a manoeuvre” may simply be
changeably with “ the” .                                                 an informational aspect associated with the alert and not
   In the present disclosure , “ In the present disclosure” may 30 referring to any particular manoeuvre.
be used interchangeably with “ in one or more embodi                  In the present disclosure, a component and /or process
ments ” , “ in some embodiments ” , which may include pre - method step described in the plural may be applied singu
ferred embodiments, and the like.                                        larly and vice versa . Use of plural or singular phrasing is not
   In the present disclosure wherein themanoeuvre ( to avoid            meant to be restrictive of the spirit and scope of the present
an emergency vehicle ) of a substantially autonomous 35 disclosure .
vehicle occurs simultaneous with an output of an audio                      In the present disclosure , references to an example of a
signal into an internal passenger compartment by an audio                process and / or component shall be non - limiting .
component, the audio signal may comprise any type of                        In the present disclosure , singular may mean one or more
sound signal which may or may not vary over a period of                  and plural may mean one or more .
time. The audio signal may have started to be outputted by 40               In the present disclosure , detection systems, perception
the audio component simultaneous with the manoeuvre , or                 systems, sensing systems, and the like, may be used inter
may have started to be outputted by the audio component                  changeably .
prior to the manoeuvre.                                                    In the present disclosure , a data packet is a unit of data
   In the present disclosure, “ programmatic instructions”               able to be transmitted and received over one or more data
shall mean and encompass any processor-readable instruc - 45 communications networks , such as one or more wireless
tions for executing one or more software and / or hardware               communications networks and /or one or more wired com
functions to achieve one or more results , computer code,                munications networks. A data packet may also be a plurality
object- oriented code , machine language , algorithms, soft              ofunits of data , a data stream , one or more data bits, or any
ware modules , artificial intelligence algorithms, substantial           other type of information that can be processed and inter
artificial intelligence algorithms, predictive algorithms, self- 50 preted by a processor and /or a set of programmatic instruc
learning algorithms, electrical signals for executing one or tions and /or any other type of electronic system / component.
more software and/or hardware functions to achieve one or           The term “ data packet” is therefore not meant to be limiting,
more results , digital instructions and/ or analogue instruc - but any data transmitted , received , processed , stored in a
tions , and the like. The terms algorithm , computer code ,              non -transient computer-storage medium , combinations
electrical signals for executing one or more software and/ or 55 thereof, and the like may be termed as a " data packet” ,
hardware functions to achieve one or more results , digital              regardless of the relative size of the data comprising the data
instructions and /or analogue instructions , object- oriented            packet or the data is structured . “ Data ” is also essentially
code , software module , machine language and program -                  synonymous with data packet for the purposes of the speci
matic instructions are considered equivalent and /or inter               fication and appended claimsbut may or may not encompass
changeable in terms of being processor readable at least in 60 control information such as destination network informa
part and being for the purpose of one or more results ,                  tion , and the like .
wherein if there is more than one intended result, each result              For the purposes of the one or more embodiments of the
may not be related to another result , or may be related in part         present disclosure , the substantially autonomous vehicle
to another result, or may be closely related to another result, prior to making any navigation decisions may first build a
or may be the same as another result, or variants thereof. 65 map of its external environment and may precisely localise
Those with ordinary skill will readily recognise equivalents, itself within the generated localisation map . The most fre
derivatives, substitutions, and the like .                               quently used , though not in any way limiting for the pur
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                                                                                                        10
poses of this disclosure (e.g . other types of sensors and               pleting given its speed , direction and angular position , and
components could readily be used , if suitable ), sensors for            removes all those that would either cross an obstacle or
map building are laser rangefinders and / or cameras coupled             come too close to the predicted path of a moving one . For
to , attached to , or integrated with one or more aspects of the         example, a vehicle travelling at 50 km /h would notbe able
substantially autonomous vehicle . In some aspects , a laser 5 to safely complete a right turn 5 m ahead , therefore that path
rangefinder scans the environment using laser beams of                   would be eliminated from the feasible set. Remaining paths
pre -determined or arbitrary calibration and calculates the              are evaluated based on safety, speed , and any time require
distance to nearby objects in the external environment by                ments . Once the best path has been identified a set of
measuring the time it takes for each laser beam to travel to             throttle , brake, and steering commands are passed onto the
the object and back . Where video from a camera is ideal for 10 substantially autonomous vehicle ' s onboard processors and
extracting scene colour, an advantage of laser rangefinders is           actuators . Although this process may take on average 50
that depth information is readily available to the substan               m /s , it can be longer or shorter depending on the amount of
tially autonomous vehicle for building a three - dimensional             collected data , available processing power, and complexity
map . The vehicle may filter and process data collected from             of the path planning algorithm .
each respective sensor and may aggregate the information to 15 In one or more embodiments of the present disclosure , an
create a comprehensive map , which can then be used for         interruption signal may be defined as at least one of a
path planning to a pre -determined location . For the substan - cancellation of the requirement for the substantially autono
tially autonomous vehicle to know where it is in relation to    mous vehicle to navigate to a first location or a requirement
other objects in the map , itmust use its attached , coupled or for the substantially autonomous vehicle to navigate to a
integrated GPS unit, other satellite system , communications 20 location differing from the first location at least in some
network , inertial navigation unit, other localisation unit ,            aspect and hence overriding the requirement for the sub
and /or sensors to precisely localise itself, and the like. GPS          stantially autonomous vehicle to navigate to the first loca
estimates can be off by many meters due to signal delays                 tion . The location differing from the first location at least in
caused by changes in the atmosphere and reflections off                  some aspect may be, in some embodiments but not neces
buildings and surrounding terrain , and inertial navigation 25 sarily all embodiments , the second location .
units accumulate position errors overtime. Therefore locali                 Turning now to the embodiments of the present disclo
sation algorithms may incorporate map and /or sensor data                sure, FIG . la is a flow chart diagram of an exemplary
previously collected from the same location to reduce uncer              process method 10 wherein the substantially autonomous
tainty . As the substantially autonomous vehicle moves , new   vehicle is directed to navigate to a first pre -determined
positional information and sensor data may be used to 30 location and , prior to the substantially autonomous vehicle
update the vehicle 's internalmap . The substantially autono - navigating to less than or equal to 31 to 33.3 meters from the
mous vehicle 's internal map may include the current and pre -determined first location , the substantially autonomous
predicted location of all static ( e. g . buildings , traffic lights ,   vehicle receives and processes an interruption signal to
stop signs ) and moving (e .g . other vehicles and pedestrians )         interrupt the requirement for the substantially autonomous
obstacles in its vicinity . Obstacles may be categorised 35 vehicle to navigate to the first pre- determined location . At a
depending on how well they match up with a library of                    step 12 , the substantially autonomous vehicle , via one or
pre -determined shape and motion descriptors (and/or other               more onboard or remote based computer systems and com
type of reference information that would assist in recognis              munications modules , is capable to receive and process a
ing objects in the vicinity of the substantially autonomous              request from a third party directing the substantially autono
vehicle ). The vehicle may use a probabilistic model to track 40 mous vehicle to generate route logic to navigate to a first
the predicted future path of moving objects based on its         location . The third party may be one or more of a mobile
shape and prior trajectory . For example , if a two wheeled              communications device , a control centre , such as a road - side
object is travelling at 40 km /h as opposed to 10 km / h , it is         assist centre , a central planning and dispatch centre /network /
most likely a motorcycle and not a bicycle and may get                   back -end system for substantially autonomous vehicles,
categorised as such by the substantially autonomous vehicle . 45 another substantially autonomous vehicle , a road - side sen
This process allows the substantially autonomous vehicle to              sor, an instruction received from the cloud , and the like, and
make more intelligent decisions when approaching cross -                 may be facilitated by a network such as various configura
walks or busy intersections . The previous, current and                  tions and protocols such as Bluetooth , Bluetooth LE , the
predicted future locations of all obstacles in the substantially Internet, World Wide Web , intranets , virtual private net
autonomous vehicle ' s vicinity may be incorporated into its 50 works, satellite , cellular networks, wide area networks, local
internal map , which the substantially autonomous vehicle                networks , private networks using communication protocols
may then use to plan its path to the one or more pre -                   proprietary to one or more companies, Ethernet, WiFi and
determined destinations . The goal of path planning is to use            HTTP, and various combinations of the foregoing, and other
the information captured in the substantially autonomous                 such communicationsmethods and networks . Such commu
vehicle ' s map to safely direct the substantially autonomous 55 nication may be facilitated by any device capable of trans
vehicle to its destination while avoiding obstacles and                  mitting data to and from other computing devices , such as
following the rules of the road . Although , those with ordi-            modems, or wireless and /wired interfaces . At a step 14 , the
nary skill in the art will readily appreciate that manufactur            one or more onboard and /or remote computer systems of the
ers ' planning algorithms will be different based on their               substantially autonomous vehicles are operable to perform
navigation objectives and sensors used , the following 60 path planning, mapping and localisation to determine the
describes a general path planning algorithm which has been               most efficient and /or the most cost - effective route to navi
used , but is no way limiting. This algorithm determines a               gate in order to navigate to the first location . Mapping and
rough long - range plan for the substantially autonomous                 localisation data may be performed using on - board sensors ,
vehicle to follow while continuously refining a short -range             including cameras , range -fingers , sonar, radar, thermal,
plan (e .g. change lanes , drive forward 10 m , turn right). It 65 ultrasound, vibration , audio , electromagnetic , light, and
starts from a set of short -range paths that the substantially     other imaging devices , other detection devices, and combi
autonomous vehicle would be dynamically capable of com - nations thereof, and the like, along with onboard GPS or
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localisation devices, or may be requested via one or more           of 360 degrees. Additionally , the process method may per
control centres , such as a road -side assist centre , a central    form iterations on path planning , mapping/imaging, and
planning and dispatch centre /network /back - end system for        localisation independent of, or in response to , object detec
substantially autonomous vehicles, another substantially            tion and analysis. In some embodiments , object detection
autonomous vehicle or one or more combinations thereof . 5 and analysis computations may not vary in complexity , or
Short range and / or long range path planning may similarly         substantially not vary in complexity. At a step 18 , at an
be performed by onboard computational and processing                instant in timeor timeperiod whilst the substantially autono
systems based on the mapping and localisation data or may          m ous vehicle is navigating a planned path to to the first
be requested from a road -side assist centre , or a central         location , the process method is operable to receive , via one
planning and dispatch centre /network /back - end system for 10 or more coupled and / or attached receivers and/ or transceiv
substantially autonomous vehicles , another substantially          e rs , an electromagnetic signal from a third party, such as a
autonomous vehicle , or some combination , thereof, and the        mobile communications device , a road - side assist, a cloud
like. At a step 16 , the process method is capable of engaging     based system , a command and control type processing
the one or more mechanical components of the substantially         system for one or more substantially autonomous vehicles,
autonomous vehicle , such as speed control, acceleration , 15 a cellular network , another substantially autonomous
deceleration , braking, turning mechanisms and the like in         vehicle , a networked communications device , combinations
order to direct the substantially autonomous vehicle to            thereof, and the like , wherein demodulation of the electro
navigate to the first location . The step 16 may involve           magnetic signal demodulates a data , wherein the data com
engaging one or more obstacle avoidance modules one or              prises an interruption signal may be an instruction to inter
more times , wherein the one or more obstacle avoidance 20 rupt a requirement for the substantially autonomous vehicle
modules are operable to detect potential objects impeding           to navigate to less than a 92 . 1 to 93 . 4 meter distance from
one or more aspects of the chosen planned path to the first         a location , such as the first location , however the interrup
location . The one or more object avoidance modules may             tion signal and /or the initial data instructing the substantially
execute one or more algorithms, based upon received                autonomous vehicle to navigate to the first location may not
empirical data received from one or more environmental 25 explicitly define this requirement for the substantially
sensors , rangefinders , imagers , cameras, ultrasonic detec -     autonomous vehicle to navigate to less than a 92 . 1 to 93 . 4
tors , audio detectors , light detectors , electromagnetic detec - meter distance from the location such as the first location .
tors , radar detectors , thermal detectors, sonar detectors , For example , the initial signal instructing the substantially
vibration detectors, etc ., and the like, and in some embodi       autonomous vehicle to navigate to the first location may
ments inclusive of retrieving one or more reference data 30 simply provide one or more geographical attributes corre
from memory in order to determine factors such as the shape lated with the first location , which implicitly is less than a
of the obstacle, depth of the obstacle , width of the obstacle ,    92 . 1 to 93 .4 meter distance from the first location (as
relative speed and /or acceleration of the obstacle , relative      determined by the one or more geographical attributes ) . For
positional location of the obstacle , orientation of the            example, the interruption signal may be a termination
obstacle, and the like. Object detection and analysis algo - 35 instruction and/ or an instruction to navigate to another
rithms may be executed with varying levels of complexity        location , which in some cases may be the second location .
depending on aspects such as environmental conditions (e . g . Where the interruption signal is a cancellation signal and the
day, night, rain , sunshine), according to received empirical   substantially autonomous vehicle is located further than 92 . 1
data, according to correlations of the received empirical data      to 93 .4 meters from the first location when processing the
with one ormore reference data stored in memory , and other 40 interruption signal, this implicitly is an instruction to inter
such parameters . For example , object detection and analysis       rupt the requirement to navigate to less than a 92. 1 to 93 . 4
may correlate an object with a stationary object such as a         meter distance from the first location . Where the interruption
piece of wood on the road surface , as recognised by corre -        signal at least includes another location for the substantially
lating the empirical data with one or more in -memory               autonomous vehicle to navigate to where the other location
reference data . The object detection and analysis module 45 is further than a 92 . 1 to 93 . 4 meter distance from the first
may determine that the characteristics of the detected piece        location , this implicitly is therefore an instruction to inter
of wood ( e. g . size and dimensions ) are such that no further     rupt the requirement to navigate to less than a 92 . 1 to 93 . 4
complex analysis is required in order to assist the substan -      meter distance from the first location . The interruption signal
tially autonomous vehicle in safely navigating past the             may be processed wherein the substantially autonomous
detected object . Tabular data , data structures , algorithms, 50 vehicle is not in a stationary position at a five -way road
and the like may assist with determining the exact charac -         intersection wherein " at a five -way road intersection ” may
teristics of the detected objected based upon the captured         be a distance substantially proximal to the five - way road
empirical data . Should an initial analysis of the empirical       intersection , such as within 30 meters in any direction of the
data detect an object correlating with an animal, such as a         five -way road intersection , and wherein the substantially
dog, in the path of the chosen route to the first pre - 55 autonomous vehicle is not processing an authoritative
determined location , the object detection and analysis algo -      instruction from a police officer at the five -way road inter
rithm may engage more complex algorithms to determine               section . An instruction from a police officer may be one or
other characteristics of the dog, such as one or more of           more of an emission , hand- gesture , body - gesture , or a signal
iterative positioning , instantaneous speeds, and the like, in      received via an electromagnetic signal or another type of
order to generate a highly probabilistic path or solution for 60 communication signal wherein the one or more of the
the substantially autonomous vehicle to safely navigate the      emission , hand - gesture , body - gesture or signalmay be inter
detected obstacle . Such object detection and analysis , of        preted by a process method to mean an authoritative instruc
which the aforementioned is a non - limiting example,may be         tion with regards to an aspect of navigating that the sub
performed simultaneously or substantially simultaneously           s tantially autonomous vehicle must adhere to . The
on a variety of detected objects empirically detected in the 65 electromagnetic signal comprising the data comprising the
external environment of the substantially autonomous            interruption signal may be received and processed wherein
vehicle and at any one or more angles, up to and inclusive the substantially autonomous vehicle is , as determined by
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the localisation module , greater than or equal to 31 to 33 . 3   the like. The one or more processes at the step 22 may be
meters from the first pre - determined location . However, in     executed for a pre -determined period of time, or in a
the alternative , no determination may be made by the             pre - determined manner, or otherwise may be executed arbi
localisation module .                                             trarily without a pre - determined time or manner qualifier,
   The one or more above described steps may be executed 5        continuously , discontinuously , or some combination thereof,
by one set of programmatic instructions, or may each be           and the like. At a step 24 , the substantially autonomous
executed by each of a different set of programmatic instruc -     vehicle , via one or more onboard and / or remote based
tions, or at least one step may be executed by a set of           computer systems and communicationsmodules, is operable
programmatic instructions different to the set of program         to receive and process a request from a third party directing
matic instructions operable to execute the other steps. One 10 the substantially autonomous vehicle to generate route logic
with ordinary skill in the art will readily recognise further     to navigate to a second location . The third party may be one
variants .                                                        or more of a mobile communications device, a control
   In the above described process method , the one or more centre/back - end system for issuing instructions to one or
sets of programmatic instructions may be any set of instruc - more substantially autonomous vehicles, another substan
tions to be executed directly (such as machine code ) or 15 tially autonomous vehicle , a road - side sensor, an instruction
indirectly (such as scripts ) by the processor, and/ or any other received from the cloud, and the like , and may be facilitated
type of programmatic instructions, machine or computer            by a network such as various configurations and protocols
code , and the like. For example , the instructions may be        such as Bluetooth , Bluetooth LE , the Internet, World Wide
stored as computing device code on the processor -readable        Web , intranets , virtual private networks , satellite , cellular
medium . In that regard , the terms " instructions" and " pro - 20 networks, wide area networks, local networks, private net
grams” may be used interchangeably herein . The instruc -         works using communication protocols proprietary to one or
tions may be stored in object code format for direct pro -        more companies , Ethernet, WiFi and HTTP , and various
cessing by the processor, or in any other computing device        combinations of the foregoing , or any other type of wired
language including scripts or collections of independent          and /or wireless communications network . Such communi
source code modules that are interpreted on demand or 25 cation may be facilitated by any device capable of trans
compiled in advance . Functions, methods and routines of the mitting data to and from other computing devices , such as
instructions are explained in more detail below . One with        modems or wireless and /or wired interfaces. At a step 26 , the
ordinary skill in the art will readily recognise further vari     one or more onboard and /or remote computer systems of the
ants .                                                       substantially autonomous vehicles are operable to perform
   In the above described process method, the one or more 30 path planning, mapping and localisation to determine the
processors may be any conventional processors, such as            most efficient and /or the most cost -effective route to navi
commercially available CPUs. Alternatively , the one or           gate in order to navigate to the second location . Mapping
more processors may be a dedicated device such as an ASIC         and localisation data may be performed using on -board
or other hardware -based processor , such as a field program -    sensors, cameras , range - fingers, and other imaging devices ,
mable gate array (FPGA ). Further, it will be understood by 35 electromagnetic signals, and combinations thereof, etc .,
those of ordinary skill in the art that the processor, comput-    other detectors , other detectors as described previously ,
ing device , or memory may actually include multiple pro -        along with onboard GPS or localisation devices, or may be
cessors, computing devices, or memories that may or may           requested via one or more control centres, such as a road
not be stored within the same physical housing. For           side assist centre , a central planning and dispatch centre /
example , memory may be a hard drive or other storage 40 network /back - end system for substantially autonomous
media located in a housing different from that of the pro -   vehicles , another substantially autonomous vehicle , or one
cessor. Accordingly , references to a processor or computing  or more combinations thereof, and the like. Short range
device will be understood to include references to a collec - and /or long range path planning may similarly be performed
tion of processors or computing devices or memories that          by onboard computational and processing systems based on
may or may not operate in parallel, and /or may or may not 45 the mapping and localisation data or may be requested from
be located in the same housing .                                 a road - side assist centre , a central planning and dispatch
   In the above described process method , in some cases centre /network /back - end system for substantially autono
predictive algorithms and/or artificial intelligence based mous vehicles , another substantially autonomous vehicle , or
algorithmsmay be involved .                                      some combination thereof, and the like. At a step 28 , the
   In the above described process method , one or more of the 50 process method is operable to engage the one or more
steps may be omitted , repeated consecutively or non - con - mechanical components of the substantially autonomous
secutively , or rearranged into a different order, or substi- vehicle , such as speed control, acceleration , deceleration ,
tuted , or appropriate additional steps may be included as        braking , turning mechanisms and the like in order to direct
those with ordinary skill in the art will readily understand the substantially autonomous vehicle to navigate to the
   Turning now to FIG . 1b a flow chart diagram of an 55 second pre - determined location . The step 28 may involve
exemplary process method 20 is shown . At a step 10 , the    engaging one or more obstacle avoidance modules one or
process method block 10 is executed . At a step 22 , one or       more times, wherein the one or more obstacle avoidance
more processes are executed , which may comprise one or           modules are operable to detect potential objects impeding
more of path planning , navigation , external environmental       one or more aspects of the chosen planned path to the first
mapping , localization , obstacle avoidance, on -board energy 60 pre -determined location . The one or more object avoidance
monitoring , powering the substantially autonomous vehicle       modules may execute one or more algorithms, based upon
off, powering the substantially autonomous vehicle on ,           received empirical data received from one or more environ
powering down in part aspects of the substantially autono         mental sensors , rangefinders , imagers , cameras , ultrasonic
mous vehicle , idling , other functions that those with ordi- detectors, audio detectors , light detectors , electromagnetic
nary skill in the art would readily recognise as related to the 65 signals , other detectors , other detectors for emissions as
efficient and effectual functioning and /or maintenance of a       described previously , and the like, and in some embodiments
substantially self -driving vehicle , combinations thereof, and   inclusive of retrieving one or more reference data from
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memory in order to determine factors such as the shape of             more processors may be a dedicated device such as an ASIC
the obstacle, depth of the obstacle, width of the obstacle ,          or other hardware -based processor , such as a field program
relative speed and / or acceleration of the obstacle , relative mable gate array (FPGA ), combinations thereof, and the
positional location of the obstacle , orientation of the like . Further, it will be understood by those of ordinary skill
obstacle , and the like . Object detection and analysis algo - 5 in the art that the processor, computing device , or memory
rithms may be executed with varying levels of complexity may actually include multiple processors, computing
depending on aspects such as environmental conditions ( e . g .       devices , or memories that may or may not be stored within
day, night, rain , sunshine ), according to received empirical        the same physical housing . For example , memory may be a
data , according to correlations of the received empirical data       hard drive or other storage media located in a housing
with one ormore reference data stored in memory , and other 10 different from that of the processor. Accordingly, references
such parameters . For example , object detection and analysis         to a processor or computing device will be understood to
may correlate an object with a stationary object such as a            include references to a collection of processors or computing
piece of plastic on the road surface , as recognised by               devices or memories that may or may not operate in parallel.
correlating the empirical data with one or more in -memory               In the above described process method , in some cases
reference data . The objection detection and analysis module 15 predictive algorithms and /or artificial intelligence based
may determine that the characteristics of the detected piece          algorithms may be involved .
of plastic ( e . g . size and dimensions ) are such that no further      in the above described process method , one or more of the
complex analysis is required in order to assist the substan -         steps may be omitted , repeated consecutively or non - con
tially autonomous vehicle in safely navigating past the          secutively, or rearranged into a different order, or substi
detected object. Tabular data , data structures , algorithms, 20 tuted , or appropriate additional steps may be included as
and the like may assist with determining the exact charac -           those with ordinary skill in the art will readily understand .
teristics of the detected objects based upon the received               FIG . 1c shows a flow diagram of an exemplary process
empirical data . Should an initial analysis of the empirical          method 30 of the present disclosure , wherein the process
data detect an object correlating with an animal, such as a           method 30 is operable to detect the near distance presence of
dog, in the path of the chosen route to the first pre - 25 an emergency vehicle and determine whether a manoeuvre
determined location , the object detection and analysis algo -        is required by one ormore of the mechanical components of
rithm may engage more complex algorithms to determine                 the substantially autonomous vehicle in order to effectively
other characteristics of the dog, such as iterative positioning,      and efficiently assist the safe and effective navigation of the
instantaneous speeds, and the like, in order to generate a            emergency vehicle to one or more destinations . At a first step
highly probabilistic path or solution for the substantially 30 20 the process method 20 is executed . At a step 32 , the
autonomous vehicle to safely navigate the detected obstacle .         process method is operable to perform external environmen
Such object detection and analysis, of which the aforemen             tal imaging and /or perception and determine that the exter
tioned is a non -limiting example, may be performed simul-            nal environmental imaging and/ or perception includes one
taneously or substantially simultaneously on a variety of             or more emissions, which may be one or more light emis
detected objects empirically detected in the external envi - 35 sions, using one or more of external environmental sensors ,
ronment of the substantially autonomous vehicle and at any            cameras , imaging devices, and / or sonar, radar, laser
one or more angles, up to 360 degrees . Additionally , the            rangefinders , combinations thereof, and / or other detectors as
process method may perform iterations on path planning,               described previously , other detectors , and the like. In any
mapping/imaging , and localisation independent of, or in              embodiments , although notnecessarily all embodiments, the
response to , object detection and analysis . In some embodi- 40 step 32 may be executed simultaneously or substantially
ments, object detection and analysis computations may not             simultaneously with a step 34 . At a step 34 , the process
vary in complexity , or substantially not vary in complexity .        method is operable to compare and/ or filter one or more or
   The one or more above described steps may be executed              all aspects of the captured imaged data and /or other percep
by one set of programmatic instructions , or may each be              tion data for an instant in time or a pre -determined or
executed by each of a different set of programmatic instruc - 45 arbitrary time-period in order to readily and accurately
tions, or at least one step may be executed by a set of               determine an identifiable source for one or more light
programmatic instructions different to the set of program -           emissions and /or one or more other types of emissions. The
matic instructions operable to execute the other steps, as process method may readily comprise comparing the cap
those with ordinary skill in the art will readily understand . tured external environment imaging data and / or other per
   In the above described process method, the one or more 50 ception data with one or more references stored in one or
sets of programmatic instructionsmay be any set of instruc - more non -transient memory modules in order to characterise
tions to be executed directly (such as machine code ) or one ormore empirically detected light emissions and/ or one
indirectly ( such as scripts ) by the processor, or any other         or more other types of emissions and determine whether the
type of programmatic instruction , machine or computer                one or more empirically detected light emissions and/or the
code, and the like . For example , the instructions may be 55 one or more other types of emissions probabilistically cor
stored as computing device code on the processor -readable            relate with an emergency vehicles. Furthermore , the cap
medium . In that regard , the terms “ instructions” and “ pro -       tured image data and/ or other perception data of interest for
grams” may be used interchangeably herein . The instruc               further analysis , filtering and/or comparison may be across
tions may be stored in object code format for direct pro - a period of time no greater than 20 .02 minutes and this
cessing by the processor, or in any other computing device 60 period of time may be determined or not determined by an
language including scripts or collections of independent algorithm . In the step 32 and /or the step 34 , varying detec
source code modules that are interpreted on demand or tion stages may be performed with varying degrees of
compiled in advance . Functions, methods and routines of the          complexity . In some embodiments , only one detection stage
instructions are explained in more detail below .                     with one degree of complexity may be performed . In the
  In the above described process method , the one or more 65 multi- stage light emission and /or one or more other emission
processors may be any conventional processors , such as      type detection processes , at the first detection stage , the
commercially available CPUs. Alternatively, the one or process method may quickly scan the entire captured image
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and /or other perception /empirical data which may be the             identified set of light emissions . For example , during the
only captured image and /or the only captured other percep -          second light detection stage , the process method may filter
tion/ empirical data or one of a plurality of captured images         out any false positives, such as streetlights reflecting glare
and/ or plurality of other captured perception / empirical data       from the sun . In another example , light sources that exhibit
and identify potential light sources and / or one or more other 5 color (s ) that may be unrelated to colors associated with
emission type sources . The first detection stage may be a            emergency vehicle light sources may be excluded from the
fast , a computationally cheap , and /or a low resource - con -       identified set of light sources . For instance , while a street
suming technique. For instance , the first detection stagemay light may be emitting light based upon a closed electrical
generally look for the epicentre of the light sources , e .g ., the circuit , it may be emitting white light. In this regard , the
brightest areas of the image and /or the epicentre of one or 10 process method may hence filter this particular streetlight
more other type emission sources . In another instance but          from the identified light emission sources based on the color
not limited thereto , the first detection stage may identify the    of the light and because the color is unrelated to colors of
brightest area of the image , local areas of the image that           light associated with emergency vehicles e . g ., red , blue , etc .
contain a bright spot surrounded by the dark regions, etc             In a further example, light emission sources and / or one or
and / or a dense (e . g . concentrated ) area of one or more other 15 more other emission type sources that may be known to be
emission type sources . Because the first detection stagemay          unassociated with emergency vehicles based on geographi
attempt to quickly identify only the bright areas of the              cal location data may be excluded from the set of the
image , light sources either unrelated to emergency vehicles          identified light sources and/ or identified one or more other
or false positives, such as glare from sun may be included in         emission type sources. By way of example only , the process
the identified set of light sources and/ or first detection stage 20 method may access information stored in memory and
may quickly identify the most concentrated aspect of one or determine that there are nine traffic lights located at a
more other emission type sources and / or one or more other          mapped road -intersection based on the accessed informa
 characteristics of one or more other emission type sources ,        tion . The information may be at least geographical location
one or more other light emission sources and/ or other type           data corresponding to the traffic lights. In other instances, the
emission sources either unrelated to emergency vehicles or 25 information may be static map information that may have
false positives may be included in the identified set. In a          been previously collected and stored. Based on this deter
non - limiting example , using one or more retrieved refer-          mination , the process method may exclude the traffic lights
ences from one or more non -transient memory modules, or             from the set of the identified light sources . A similar process
a combination thereof, the process method may rapidly                method as that described above may be applied to one or
identify that a set of traffic lights , a set of streetlights and an 30 more other emission types such as, but not limited to ,
emergency vehicle are all light sources . One or more of the thermal, electromagnetic , sonar , ultrasonic , vibrational,
set of streetlights may be, as an example , emitting light audio , radar, infrared , image characteristics , motion - image
based upon a closed electrical connection , and one or more              characteristics, and the like , wherein one or more algorithms
of the set of street lights may be emitting light as a result of      are capable of distinguishing between one ormore emissions
reflections from the sun . Further, in this non - limiting 35 correlating to an emergency vehicle and one or more emis
example , the process method may identify only the light              sions that do not correlate to an emergency vehicle .
being emitted from one traffic light and not other traffic              At a step 36 , after false positives and irrelevant objects
lights since the other traffic lights face -away from the one or      and lighting sources and/ or one or more other emission type
more cameras, other imaging devices and / or other detection          sources have been filtered out based on filtering parameters
devices . In order to remove any false positives and filter out 40 and references, a determination may bemade by the process
potential light sources that may be unrelated to emergency           method as to whether the one or more remaining relevant
vehicles, the second detection stage may be used . The               light emissions and/ or one or more other emission type
second detection stage may more accurately analyze a larger          sources correlate with one or more emergency vehicles. The
area around an epicenter of the identified light source and /or       process method may perform object shape, dimensional,
identified one or more other emission type source and 45 depth analysis , orientation analysis , alphanumeric character
analyze associated colors and/ or other characteristics to            analysis, combinations thereof, and the like and compare the
determine whether the light source and/or identified one or           objects in the captured images and/or other captured empiri
more other emission type source corresponds to a potential            cal data with one or more reference shapes and /or other
emergency vehicle . For example , a sun glare on a streetlight        reference data stored in one or more non - transient memory
may have a brightness concentrated at the epicenter of the 50 modules in order to determine if the one or more objects in
identified light source . Based on at least this characteristic of    the near vicinity of and/ or comprising the light emission
the sun glare , the process method may filter out the sun             sources and/ or one or more other emission type sources
glare . The filtering may be performed during the second              corresponds to known shapes and /or other known data of
detection stage . A light source truly emitting light may emergency vehicles . Object detection may also include
exhibit gradually decreasing brightness levels from the 55 deciphering symbol or textual or character shapes and
epicenter of the light source . Those with ordinary skill in the specific arrangements of such . Object detection may also
art will understand characteristics relating to one or more           include object orientation analysis and comparison with one
other emission types thatmay be applicable for the purposes           or more orientations stored in memory . Light emissions
of this process method. In addition, the colors of the lights         and/ or one or more other emission source types that exhibit
may also be analyzed to further determine whether the light 60 characteristics associated with potential emergency vehicles
source is originating from an emergency vehicle . In that      as determined by reference correlations and / or filtering
regard , the process method may more accurately include the           parameters may in some cases be identified to be further
light sources and/ or one ormore other emission type sources      analyzed for flashing lights and to determine the type of
that correspond to emergency vehicles during the second           emergency vehicle . The process method may determine that
detection stage by using various filtering techniques . In one 65 one or more light emission sources and /or one or more other
example , light sources that exhibit certain characteristics      emission type sources and the corresponding one or more
associated with false positives may be excluded from the light emission colours and /or one or more other emission
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type aspects are associated with the characteristics of an          skill in the art will readily recognise other appropriate
emergency vehicle , and based on references or parameters           reference systems, or additions thereof, such as colour
stored in a non - transient memory module may be further            distinguishers — i. e distinguishing red and blue colours , and
classified as a police emergency vehicle, or an ambulance , or       or other type of emission distinguishers , as it applies to the
a fire fighting truck , and the like . Further, the horizontal 5 present disclosure .
and/ or vertical configuration and/ or other spacial configu -         At a step 38 , after determining that one or more light
ration of the light emission source and /or one or more other       emission sources and/ or one or more other emission type
emission type source may also indicate that the light and/or        sources and/ or objects correlates to an emergency vehicle ,
one or more other emission type may be associated with a            the process method is operable to determine the relative
police vehicle , or an ambulance , or a fire fighting truck . For 10 position (s ) and /or speed (s ) of the one or more emergency
example , the process method , by analysing multiple images         vehicles . This may be performed by capturing a series of
and/ or other empirical data , may determine whether a light        images and / or sounds and/ or other type of empirical data
emissions source corresponding to a potential emergency             over a period of time and performing analysis on the
vehicle is flashing . In that regard , a particular region of one   identified emergency vehicle (s ) ( including previously cap
image may be compared to the same region in a previous 15 tured images and / or other type of captured data potentially ,
image . When the light emissions source is emitting light in        etc .) to determine the relative positional change ( e . g . one or
both images , the process method may determine that the             more of increasing or decreasing size of shape , change of
light emissions source is not flashing . In that regard , an        shape , change of orientation , increasing light emissions
on -off -on - off pattern among a series of images may indicate intensity , one or more other emission type increasing in
that the light emissions source is flashing. The series of 20 intensity , change of relative position from one image frame
images may be captured by one or more sensors, cameras, to the next, change of relative position from base on one or
imagining devices , other detector devices or aspects as more emission data , and the like, and/ or measuring the
described previously , etc ., or one or more combinations           change in audio decibels along with the direction ofmost
thereof, coupled to or otherwise attached to the substantially      intensity of the received sound from one instant in time or
autonomous vehicle , or in some cases located remotely from 25 time period to the next instant in time or time period and / or
the substantially autonomous vehicle and communicated via           the change in radar aspects, thermal aspects, sonar aspects ,
a wireless and/ or wired communications link to the one or          electromagnetic aspects, vibrational aspects , ultrasound
more processors of the substantially autonomous vehicle .           aspects , combinations thereof, etc ., as it relates to the one or
 The quantity of images and/ or quantity of other type of           more emergency vehicles from one instant or period of time
empirical data that may need to be analysed to determine if 30 to another instant or period of time and the like of the
the one or more light emissions sources and / or one or more         emergency vehicle . Performing such relative positional and
other emission type sources correlates with one or more             speed changes may be facilitated by the one or more
reference emergency vehicles and to further classify the            modules of the substantially autonomous vehicle ( including
emergency vehicle by type (if necessary )may depend on one          potentially modules communicatively coupled to the sub
or more of the elimination of false positives, the number of 35 stantially autonomous vehicle via a wired and/ or wireless
lighting sources in the captured images and/ or other empiri- communications network ), such as camera , external envi
cal data and/or the number of sources correlating to one or ronment sensors , imaging devices, rangefinders , GPS track
more other emission types in the captured images and / or           e rs , sonar, audio , radar, vibrational, light, electromagnetic
other empirical data , interferences from objects, the ability      signals, etc ., combinations thereof, other detector devices as
for the process method to correlate captured empirical data 40 discussed previously , other detector devices , and the like.
with one or more references stored in one or more non -        The step 38 may be performed with varying levels of
transient memory modules , and the like. In some embodi-       complexity and taking varying amounts of time depending
ments, but not necessarily all embodiments , the number of on characteristics of the environment, such as the number of
consecutive captured images and / or other captured empiri          emergency vehicles , the surrounding traffic , the availability
cal data relating to the emergency vehicle may not collec - 45 of side routes , and the like . Retrieving one or more reference
tively add up to a time duration of more than 20 .02 minutes ,      data may be used to assist in accurately determining the
when the instant or period of time for which each image             relative positions and speeds of the emergency vehicle (e.g .
and / or other empirical data accounts for is added to all other    correlating a particular change in size of a detected emer
relevant images and/ or other relevant empirical data relating      gency vehicle object between a first image frame and a
to an emergency vehicle . The instant or period of timemay 50 second image frame with a reference data wherein the
or may not be determined by an algorithm .                          particular change in size accounts for a certain positional
   The one or more references stored in one or more non              change , such as the approach of an emergency vehicle at a
transient memory modules or data structures may be pre -            speed of 90 km /h in the same lane or plane or relative axis
programmed or learnt by an artificial intelligence or predic        as the substantially autonomous vehicle ). In some embodi
tive based system or algorithm over a period of time, or a 55 ments , but not necessarily all embodiments, the consecutive
combination thereof ( for example , a “ base” level of data   image frames and / or sensor data from one or more emission
may be initially present allowing the substantially autono -        types analysed may not collectively exceed 20 .02 minutes
mous vehicle to avoid emergency vehicle obstruction during          worth of empirical data mapping to the external environment
the first times the substantially autonomous vehicle is utilis -    with regards to the emergency vehicle , and this time limit
ing one or more public transport networks or roads, which 60 may or may not be determined by an algorithm . The process
is then built upon via one or more learning algorithms) .    method may further include analysing the current speeds and
Empirically captured data over time may be used to increase         positions across a period of time of the substantially autono
the ability for the process method to effectively analyse light     mous vehicle on its current planned path to the second
emission sources and/or one or more other emission type             location , in order to more accurately determine if manoeu
sources and objects in order to eliminate false positives 65 Vres are required to avoid obstructing the emergency
quickly and determine that one or more objects correlate     vehicle . The process method may terminate if the determi
with one or more emergency vehicles . Those with ordinary nations of the positions and speed of the emergency vehicle
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indicates that the emergency vehicle is able to navigate to its      the manoeuvre to avoid the emergency vehicles wherein the
destination without obstruction by the substantially autono          substantially autonomous vehicle may be locationally posi
mous vehicle on the path planned to the second location . If         tioned greater than 20 .2 to 22.5 meters from the second
the determinations indicates that the positions and speeds of        location , and may not navigate to within or less than 20 .2 to
the emergency vehicle will result in the substantially autono - 5 22 .5 of the second pre- determined location for at least 7 .8 to
mous vehicle obstructing the emergency vehicle on the 9 .5 seconds. The positional location aspects may ormay not
substantially autonomous vehicle ' s current planned path to        be determined by an algorithm , and the time limit aspects
the second location , the step 38 may be further operable to
determine a position , which may be based on one or more of may            or may not be determined by an algorithm . The
                                                                     manoeuvre  performed may be a slight or significant devia
the analysed empirical data , newly received empirical data 10 tion from the       second planned path as originally planned
that is analyzed , reference data , third party instructions , and prior to the detection
a speed thereof, etc., in order to avoid obstructing the vehicle was a potential that           the substantially autonomous
                                                                                           obstacle to the emergency vehicle .
emergency vehicle . This process may comprise performing
path planning , mapping , localization , obstacle avoidance ,           In some embodiments of the present disclosure, analysis
and the like at one or more levels of complexity depending 15 01 sound in the external environment as captured by one or
                                                                  15 of
on the circumstances of the external environment and the more sound -based sensors may be a complement or pre
reference data available to efficiently assist in re -routing the   dominant method of determining the presence , characteris
substantially autonomous vehicle to a locational position           tic , the position and / or speed of an emergency vehicle in
and/ or speed in order to avoid the emergency vehicle . The         proximity to the substantially autonomous vehicle . In such
position determined may be such that the second planned 20 embodiments, captured sound may be analysed with com
path is modified at least in part because of the determined          parisons to one or more reference data stored in one or more
position and the determined position is a geographical               non -transient memory modules and known and /or unknown
attribute / coordinate or other geographical point or locational     false positives (e . g . constant sounds , sounds of birds etc )
identifier that, when the substantially autonomous vehicle          may be immediately eliminated or eliminated during refer
performs a manoeuvre to reach the determined position , is a 25 ence data comparison with empirically captured sound data .
geographical coordinate (or the like ) that differs to the          One or more sound characteristics such as sound variations ,
original second planned path and is located sufficiently to         and the like , may be analysed and compared to determine the
avoid the substantially autonomous vehicle from being an            position and speed of the emergency vehicle over one or
obstacle to the emergency vehicle . The substantially autono
mous vehicle may not pause at the determined position but 30 more  instances in time or time periods. In some embodi
                                                             ments , but not necessarily all embodiments , the total dura
may continue on toward the second location . In some cases,tion of captured consecutive sound data to perform the
the determined position may still be within a margin of theanalysis and determinations may not exceed 20 .02 minutes,
second planned path , but may differ at least in part from the
original second planned path that the substantially autono which may or may not be determined by an algorithm . In
mous vehicle would have navigated if it had not been 355 ferred
                                                           other embodiments, or otherwise encompassed by a pre
                                                           on     embodiment, a similar process to those described may
detected that the substantially autonomous vehicle was a
potential obstacle to an emergency vehicle . The manoeuvre be  applied to sonar characteristics, radar characteristics,
performed may be a slight or significant deviation from the          thermal characteristics, infrared characteristics , electromag
second planned path as originally planned prior to the              netic characteristics , vibrational characteristics, ultrasonic
detection that the substantially autonomous vehicle was a 40 characteristics , weather based characteristics, other emission
potential obstacle to the emergency vehicle .                characteristics , and the like _ e .g . eliminating false positives
   In the above described process method , in some cases            ( e . g . thermal , characteristics of a tree , a bike , etc ) and
predictive algorithms and / or artificial intelligence based        determining the position and speed of the determined one or
algorithms may be involved .                                        more emergency vehicles in order to determine whether a
   In the above described process method , one or more of the 45 positionalmanoeuvre is required and a speed and/ or time to
steps may be omitted , repeated consecutively or non -con -          perform the positionalmanoeuvre in order to avoid obstruct
secutively , or rearranged into a different order, or substi-        ing the emergency vehicle during navigation of the substan
tuted , or appropriate additional steps may be included as          tially autonomous vehicle to the second location . Perform
those with ordinary skill in the art will readily understand        i ng determination and analysis on one or more sound ,
  FIG . 1d shows a flow diagram of an exemplary process 50 thermal, sonar, infrared , vibrational, ultrasound, radar, elec
method 40 of the present disclosure . Steps 20 , 32 , 34 , 36 , 38 tromagnetic characteristics, combinations thereof, and the
are executed as described with reference to FIG . 1c . At a step     like , other emission characteristics is to be considered simi
44 , the process method is operable manoeuvre the substan -          lar to performing light emission determination and analysis .
tially autonomous vehicle to the determined position at a            It should be noted that emission characteristics that include
determined speed . The speed to perform themanoeuvre may 55 dimensional, shape , depth , colour , alphanumeric character
be between 0.0001 km /h and 130 km /h , inclusive, which            istics, internal component characteristics of the emergency
may or may not be determined by an algorithm to determine            vehicle , external component characteristics of the emer
compliance . The time taken to perform the manoeuvre in             gency vehicle , orientation , and the like , which may be
order to avoid obstructing the emergency vehicle may not             identified via light emission capture , infrared emission cap
exceed 20 .02 minutes and this time limit may or may not be 60 ture, electromagnetic emission capture , sound emission cap
determined by an algorithm . At the step 44 , the process      ture, etc . may undergo simplified processing to eliminate
method is operable to cause the engagement of one or more            false positives and more complex processing to eliminate
mechanical components of the substantially autonomous               false positives which may be that described or similar to that
vehicle such as accelerator , decelerator, braking system ,         described , or only one or the other, and / or another type of
wheel rotation system , and the like , in order to navigate 65 algorithm to correlate the emission characteristics with
effectively to the determined position to avoid obstructing reference data to determine if the emission characteristics
the emergency vehicle . The step 44 is operable to perform           correlates with an emergency vehicle .
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   In the above described process method , in some cases             environmental conditions and associated variables . In some
predictive algorithms and /or artificial intelligence based          embodiments, the received and processed electromagnetic
algorithmsmay be involved .                                          signalmay additionally comprise one ormore of a positional
   In the above described process method , one ormore of the         re - location information , time to perform the required posi
steps may be omitted , repeated consecutively or non - con - 5 tional relocation , speed to perform the positional re - location ,
secutively , or rearranged into a different order, or substi-        a characteristic of the emergency vehicle , and the like, to
tuted , or appropriate additional steps may be included as          assist in efficient emergency vehicle obstruction avoidance
those with ordinary skill in the art will readily understand .      whilst navigating to the second location . At the step 44 , the
   Turning now to FIG . 2 , a flow chart diagram of an               process method is operable to cause the engagement of one
embodiment of the present disclosure is shown, which may 10 or more mechanical components of the substantially autono
be an exemplary embodiment of the present disclosure . A            mous vehicle such as accelerator, decelerator, braking sys
process method 46 is shown involving receiving an electro -         tem , wheel rotation system , and the like , in order to navigate
magnetic signal and demodulating the electromagnetic sig -           effectively to the determined and / or pre -determined position
nal to retrieve data comprising a characteristic of an emer-         to avoid obstructing the emergency vehicle. The step 44 is
gency vehicle located in proximity to the substantially 15 operable to perform the manoeuvre to avoid the emergency
autonomous vehicle . The electromagnetic signal may be     vehicle wherein the substantially autonomous vehicle may
transmitted directly or indirectly from an emergency vehicle        be locationally positioned greater than 20 . 2 to 22 . 5 meters
within a radius of the substantially autonomous vehicle , or        from the second pre -determined location , and may not
may be transmitted from a third party computer system ,             navigate to within or less than 20 .2 to 22 .5 of the second
directly or indirectly , such as a road - side assist computer 20 pre -determined location for at least or greater than 7 .8 to 9 .5
system , a control system /back -end system for one or more          seconds. The positional aspects and / or the time limit aspects
emergency vehicles, and/or one or more substantially                may or may not be determined by an algorithm to ensure
autonomous vehicles, another networked communications               compliance . In some embodiments , the process method 46
device , or some combination thereof, and the like. The             may be combinable with one or more of the other process
process method is operable to execute the process method 25 methods of the present disclosure , as the application
20 . At a step 48, the process method is operable to , via one       requires, for example , to achieve a more accurate result, etc .
or more wireless communications modules , receive one or               In the above described process method , in some cases
more electromagnetic signals and process the one or more predictive algorithms and / or artificial intelligence based
received electromagnetic signals, such as by commonly         algorithmsmay be involved .
known demodulation processes, and wherein processing of 30 In the above described process method , one or more of the
the electromagnetic signal results in one or more processor - steps may be omitted , repeated consecutively or non - con
readable data comprising information on an emergency          secutively, or rearranged into a different order, or substi
vehicle located within a radius of the substantially autono -        tuted , or appropriate additional steps may be included as
mous vehicle , and/ or comprising an alert to perform a              those with ordinary skill in the art will readily understand .
manoeuvre at a determined or pre -determined time. In some 35          FIG . 3 shows an example system 54 (also known as a
embodiments, a plurality of electromagnetic signals may be           computer system , computing system , etc ., which may be
received over a period of time, and in some embodiments ,           broader than a computing system 56 ) of various components
but not necessarily all embodiments , not exceeding 20 .02          and /or processes operable to be coupled and / or communi
minutes in consecutive time in order to provide more                 catively coupled to the substantially autonomous autono
accurate information for efficient analysis and response ; an 40 mous and operable to carry out one or more of the process
algorithm may or may not be performed in order to deter - methods of the present disclosure . The various components
mine compliance to within this time limit . At a step 50 , a        may be at least one of integrated with , attached to , or
determination is performed to determine the position and/or          coupled directly to the substantially autonomous vehicle ,
speed and / or other relevant data /characteristic of the emer-      and /or the various components may be located remotely
gency vehicle , wherein the determination is made based 45 from the substantially autonomous vehicle and accessible
upon the demodulated electromagnetic signal. At a step 52 ,          via at least one or more wireless and /or wired communica
the process method determines a position , based on one or          tions networks facilitated by at least one receiver and / or
more of the analysed empirical data , newly received empiri -      transceiver at least one of directly coupled to , attached to , or
cal data that is analyzed , reference data , third party instruc - integrated with the substantially autonomous vehicle , or one
tions , combinations thereof, and the like, to navigate to and 50 or more of the various components may be one or more of
an instant in time or time period to perform the required          integrated with , attached to , or coupled directly to the
manoeuvre and /or a speed to perform the required manoeu -           substantially autonomous vehicle and one or more of the
vre in order to avoid obstructing the emergency vehicle . This       various components may be located remotely from the
process may comprise performing path planning, mapping,              substantially autonomous vehicle and accessible via one or
localization , obstacle avoidance , and the like at one or more 55 more wireless and / or wired communications networks
levels of complexity depending on the circumstances of the           facilitated by at least one receiver and / or transceiver one or
external environment and the reference data available to            more of integrated with , directly coupled to , or attached to
efficiently assist in re -routing the substantially autonomous      the substantially autonomous vehicle . The remote location
vehicle to a locational position and/ or a speed in order to        may be a command and control centre /back - end system /
avoid the emergency vehicle . The time determination to 60 network for one or more substantially autonomous vehicles,
perform the required manoeuvre , which may be correlated   a mobile communications device , a computer system , a
with a positional determination , may require taking into            server, the cloud , a road -side assist computer system , a
account the aforementioned analysed factors , the time               remote substantially autonomous vehicle , combination
required to navigate to the second location , and the like .         thereof, etc., and the like. The computing system 56 is a
Self-learning algorithms may improve calculating the time 65 component of the system 54 which comprises one or more
determination factor and /or positional determination over processors 58 , one or more memory modules 60 , one or
time as more data is recorded on one or more external more user- inputs 66 , one ormore user-interface devices such
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as visual-based and /or audio -based 68 . The one or more             geographical area . For instance, a particular intersection
memory modules 60 stores information accessible by the               may have a certain number of traffic lights , street lights ,
one or more processors 58 , including data 62 and instruc             pedestrian crosswalk lights, thermal radiation patterns, etc .
tions 64 that may be executed or otherwise used by the one            These light sources , etc.,may be associated with geolocation
or more processors 58 . The one ormore memory modules 60 5 data , such that the computing system 56 may be able to
may be of any type capable of storing information accessible          readily determine the quantity and , in some instances , the
by the one or more processors 58 , including a processor              exact location of the emissions sources at the intersection . In
readable medium , or other medium that stores data that may           this regard , the computing system 56 may be able to quickly
be read with the aid of an electronic device, such as a               and efficiently filter light emissions sources and /or any other
hard -drive , memory card , ROM , RAM , DVD or other 10 type of emissions sources that are not associated with
optical disks , as well as other write - capable and read -only       emergency vehicles when determining whether any detected
memories . Systems and methodsmay include different com -             light sources and /one or more other emission type sources
binations of the foregoing, whereby different portions of the         likely correspond to emergency vehicles .
instructions and data are stored on different types of media .           The instructions 64 may be any set of instructions to be
The data 62 may be retrieved , stored or modified by the one 15 executed directly ( such as machine language ) or indirectly
or more processors 58 in accordance with the instructions             ( such as scripts ) by the processor. For example, the instruc
64 . For instance , although the claimed subject matter is not        tions may be stored as computing device code on the
limited by any particular data structure , the data may be            processor -readable medium . In that regard , the terms
stored in computing device registers, in a relational database        “ instructions” and “ programs” may be used interchangeably
as a table having a plurality of different fields and records, 20 herein . The instructionsmay be stored in object code format
XML documents or flat files. The data may also be formatted           for direct processing by the processor, or in any other
in any processor -readable format. For example , data 62 may          computing device language including scripts or collections
include one ormore reference data configured to detect light          of independent source code modules that are interpreted on
sources, colors , images , motion - images , electromagnetic    demand or compiled in advance . Functions , methods and
signal demodulated information , electromagnetic signals, 25 routines of the instructions are explained in more detail
sonar, radar, audio , infrared , ultrasound , thermal, laser, below . The one ormore processors 58 may be any conven
vibration , shape , dimension , orientation , color- gradients, tional processors, such as commercially available CPUs.
other emission characteristics , and the like, thereof. The      Alternatively , the one or more processors may be a dedicated
reference data may be a light reference , a color reference , an device such as an ASIC or other hardware -based processor,
image reference , a motion - image reference , a demodulated 30 such as a field programmable gate array (FPGA ) , and the
electromagnetic signal reference, an electromagnetic signal           like , or combinations thereof. Although FIG . 3 functionally
reference , a sonar reference , a radar reference, a sound            illustrates the processor( s ), memory , and other elements of
reference , an infrared reference , a thermal reference , a           computing system 56 as being within the same block , it will
vibrational reference, an ultrasound reference , shape refer-         be understood by those of ordinary skill in the art that the
ence, dimension reference, orientation reference, color- gra - 35 processor, computing device , or memory may actually
dient reference , other emission characteristics, and the like ,      include multiple processors, computing devices , or memo
a combination of a plurality of the references, or different         ries thatmay or may not be stored within the same physical
types of image reference (inclusive potentially of motion             housing. For example , memory may be a hard drive or other
image which is encompassed in the meaning of image ). For             storage media located in a housing different from that of
example , these references may be used to detect various 40 computing system 56 . Accordingly , references to a processor
emission sources ( light, sound, thermal, infrared , electro -        or computing device will be understood to include refer
magnetic, sonar, etc ., and the like) and whether the emission        ences to a collection of processors or computing devices or
sources are associated with emergency vehicles . In another          memories that may or may not operate in parallel. Comput
example, data 62 may also include a plurality of classifiers .        ing system 56 may have all of the components normally used
One example of a classifier may be a flashing bar classifier. 45 in connection with a computing device such as the processor
For instance , the flashing bar classifier may include numer -        and memory described above , as well as a user input 66
ous police vehicle light patterns and may be trained over             ( e . g ., a mouse , keyboard , touch screen and / or microphone )
time to more accurately detect different types of police              and various electronic displays (e . g ., a monitor having a
vehicles and/or police vehicles detected at one or more?              screen , a small LCD touch -screen or any other electrical
orientations, approaching from differing angles relative to 50 device that is operable to display information ). In this
the substantially autonomous vehicle , and the like. Other            example , the substantially autonomous vehicle includes an
types of classifiers may be associated with ambulance light           internal electronic display as well as an external electronic
patterns, sound patterns, electromagnetic signal patterns,            display. In this regard , internal electronic display may be
sonar patterns, radar patterns, infrared patterns , thermal           located within an area of the substantially autonomous
patterns, vibrational patterns , ultrasound patterns , other 55 vehicle and may be used by computing system 56 to provide
emission type patterns, combinations thereof, etc . Further, information to passengers within the substantially autono
the data 62 may also include information related to different mous vehicle . External electronic display may be located
types of emergency vehicles ( generally under the umbrella      eternally or mounted on an external surface of the substan
of emission characteristics ), e. g., types of vehicles, sizes,       tially autonomous vehicle and may be used by computing
shapes, orientations, common sounds, flash patterns, light 60 system 56 to provide information to potential passengers or
patterns, electromagnetic characteristics, thermal character - other persons outside of the substantially autonomous
istics , sonar characteristics , radar characteristics , sonar char - vehicle . In some embodiments, one or more of the steps 34 ,
acteristics , vibrational characteristics , sound characteristics,    36 , 38 , 44 , 48 , 50 , 52 , may be executed whilst simultaneous
material characteristics , information data on the emergency          with one or more images , motion -images, light signals ,
vehicle , etc . In a further example , data 62 may also include 65 and/ or or audio signals being actively outputted by one or
location information ( e .g ., GPS coordinates ) associated with      more of the user -interface devices 68 . Computing system 56
various emissions sources expected to be within or at a may be in communication various components, such as a
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deceleration module 74 , an acceleration module 70 , a steer -       cessed by computing system 56 . In the case where the
ing module 78 , a signallingmodule 82 , a navigation module          substantially autonomous vehicle is a small passenger
80 , a positioning module 76 , and a perception module 71 ,          vehicle such as a car , the car may include a laser mounted
such that one or more components working together may                on the roof or other convenient location . The computing
control the movement , speed , direction , etc . of the substan - 5 system 56 may control the direction and speed of the vehicle
tially autonomous vehicle in accordance with the instruc-            by controlling various components. By way of example , if
tions 64 stored in memory 60 . Although these components             the vehicle is operating completely autonomously , comput
are shown as external to computing system 56 , in actuality,         ing system 56 may navigate the vehicle to a location , such
these components may also be incorporated into computing             as the second location , using data from the detailed map
system 56 . Computing system 56 may interact with decel - 10 information and navigation module 80. Computing system
eration module 74 and acceleration module 70 in order to             56 may use the positioning module 76 to determine the
control the speed of the vehicle . Similarly , steering module       substantially autonomous vehicle 's location and the percep
78 may be used by computing system 56 in order to control            tion module 71 to detect and respond to objects when needed
the direction of the substantially autonomous vehicle . The          to reach the location safely. In order to do so , computing
steering system may include components to control the 15 system 56 may cause the substantially autonomous vehicle
angle of wheels to turn the vehicle. Signalling module 82            to accelerate ( e .g ., by increasing fuel and/ or other energy
may be used by computing system 56 in order to signal the            provided to the engine by acceleration module 70 ) , decel
vehicle 's intent to other drivers or vehicles, for example, by      erate (e.g., by decreasing the fuel and /or other energy
lighting turn signals or brake lights when needed . Naviga -         supplied to the engine or by applying brakes by deceleration
tion module 80 may be used by computing system 56 in 20 module 74 ), change direction ( e . g ., by turning the front or
order to determine and follow a route to a location , such as        rear wheels of substantially autonomous vehicle by steering
the second pre - determined location . In this regard , the          module 78 ), and signal such changes ( e . g . by lighting the
navigation module 80 and / or data 62 may store map infor -          appropriate turn signals of the signalling module 82 ). In the
mation , e. g., highly detailed maps identifying the shape and       above described process method , one or more of the com
elevation of roadways, lane lines , intersections, crosswalks , 25 ponents may be omitted , repeated consecutively or non
speed limits , traffic signals , buildings , signs , real time traffic consecutively , or rearranged into a different order , or sub
information , vegetation , or other such objects and informa- stituted , or appropriate additional components may be
tion . Positioning module 76 may be used by computing included as those with ordinary skill in the art will readily
system 56 in order to determine the substantially autono        understand .
mous vehicle ' s relative or absolute position on a map or on 30 FIG . 4 is an example , non - limiting diagram showing an
the earth . For example , the positioning module 76 may         example road -way , such as a main highway 94 , comprising
include a GPS receiver to determine the device ' s latitude ,   one or more vehicles, including a plurality of substantially
longitude and /or altitude position . Other location modules     autonomous vehicles 98 and one emergency vehicle 96 . The
such as, but not limited to , laser- based localization systems,     emergency vehicle is navigating 100 along a longitudinal
inertial - aided GPS , or camera -based localization , sound 35 axis , which is the same axis that the plurality of substantially
based localization , thermal based localisation , sonar based        autonomous vehicles 98 were originally travelling before
localisation , radar based localisation , ultrasound based           determining that the emergency vehicle 96 is approaching
localisation , vibrational based localisation , infrared based       along the same longitudinal axis and hence the plurality of
localisation , combinations thereof, other localisation              substantially autonomous vehicles are obstructing the effi
devices , programs, and the like, may also be used to identify 40 cient and safe navigation of the emergency vehicle to its
the location of the vehicle . The location of the substantially   determined /pre -determined location . The plurality of
autonomous vehicle may include an absolute geographical              autonomous vehicles 98 are communicatively coupled via
location , such as latitude, longitude, and / or altitude as well    each of one or more wireless communications links to a
as relative location information , such as location relative to      road - side assist computer system 84 , which may in the
other cars which may be normal vehicles and / or substan - 45 alternative be a traffic control centre for a plurality of
tially autonomous vehicles , immediately around it . The      substantially autonomous vehicles, a back - end control sys
positioning module 76 may also include one or more other      tem for one or more substantially autonomous vehicles, and
devices in communication with computing system 56 , such           other vehicles if necessary , and the like . The road -side assist
as an accelerometer, gyroscope or another direction / speed        computer system 84 comprises a computing environment 86
detection device , and the like, to determine the direction and 50 which may comprise one or more of the components and /or
speed of the substantially autonomous vehicle or changes programmatic instructions to execute one or more of the
thereto . By way ofexample only , an acceleration device may       process methods described in the present disclosure . The
determine its pitch , yaw or roll (or changes thereto ) relative     computing environment 86 comprises a transportation net
to the direction of gravity or a plane perpendicular thereto .       work data store 88 which may be operable to analyse various
The device may also track increases or decreases in speed 55 road or travel conditions and /or the operational state of one
and the direction of such changes . The device 's provision of       or more vehicles utilising one or more relevant roads. The
location and orientation data as set forth herein may be             computing environment 86 further comprises a roadway
provided automatically to the computing system 56 , other            management system 90 which may specifically comprise
computing devices and combinations of the foregoing. The             one or more of the components and /or process methods
perception module 71 also includes one or more components 60 described in the present disclosure . The road - side assist
for detecting and performing analysis on objects external to         computer system 84 is operable to communicate with one or
the substantially autonomous vehicle such as other vehicles,         more vehicles utilising various roads or not utilising various
obstacles in the roadway, traffic signals, signs, trees, etc . For   roads and/or communicate with one or more other road - side
example , the perception module 71 may include lasers ,              assist computer systems 84 via a coupled network 92, which
sonar , sound , ultrasound , vibrational, radar, cameras, infra - 65 may comprise one or more wireless communications mod
red , thermal, electromagnetic , and/ or any other detection         ules and networks inclusive of receivers , or transceivers
device or program which records data which may be pro -              and /or transmitters and the like and/ or one or more wired
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communicationsmodules and networks . Hence , by perform -               non -transient computer - readable storage medium , or a plu
ing some aspect of or one or more of one or more of the                 rality of processors and a plurality of non -transient com
process methods of the present disclosure , the road -side              puter -readable storage mediums, or some combination
assist computer system 84 is operable to determine that the             thereof: for example a first processor and a plurality of
emergency vehicle 96 is approaching the plurality of sub - 5 non - transient computer readable storage mediumsas the first
stantially autonomous vehicles 98 and to alert the plurality           non -transient computer readable computer medium , or a first
of substantially autonomous vehicles 98 via one or more                 non - transient computer -readable storage medium and a plu
wireless and /or wired communications links that one or                rality of processors as the first processor . In some embodi
more manoeuvres to avoid obstructing the efficient naviga -            ments , each of the plurality of processors may be located
tion of the emergency vehicle 96 is required or may be 10 within the same housing , or some of the plurality of pro
required . Hence , based partially or fully on the received             cessors may be located within a first housing, and some of
information from the road - side assist computer system 84              the plurality of processors may be located outside of the first
via one or more wireless and / or wired communications                 housing. In some embodiments , each of the plurality of
links , each of the plurality of substantially autonomous               non - transient computer -readable storage mediumsmay be
vehicles 98 may perform a manoeuvre 102 to a pre -deter - 15 located within the same housing, or some of the plurality of
mined position at a pre - determined speed to avoid obstruct-          non -transient computer- readable storage mediums may be
ing the emergency vehicle 96 along its navigated path along            located within the first housing, and some of the plurality of
the longitudinal axis 100 . In this non -limiting example , the        non -transient computer- readable storage mediums may be
manoeuvre 102 is to a position in an adjacent road -lane from           located outside of the first housing. In some embodiments,
the original lane navigated by each of the plurality of 20 a single processor and a single non -transient computer
substantially autonomous vehicles 98 .                                  readable storage medium may be located within the first
   The illustration of FIG . 4 is to be considered non - limiting.     housing . In some embodiments , a single processor and a
   In the above described process method , in some cases               single non - transient computer readable storagemedium may
predictive algorithms and/ or artificial intelligence based            be located outside the first housing. In some embodiments ,
algorithms may be involved .                                         25 a single processor and a single non - transient computer
  In some embodiments of the present disclosure , the sec -             readable storage medium may be communicatively coupled
ond location may be at least located greater than or equal to           via wireless and/ or wired communications network . In some
20 .9 to 21.3 meters from the first location . This localisation        embodiments , each of the plurality of non -transient com
aspect may or may not be determined by an algorithm .            puter -readable storage mediums may be located within the
   In some embodiments of the present disclosure , the one or 30 same housing, or some of the plurality of non -transient
more onboard computer systems and/or remote computer             computer-readable storage mediums may be located within
systems which may be further inclusive of the one or more        the first housing, and some of the plurality of non -transient
processors may be operable to engage the braking system          computer -readable storage mediumsmay be located outside
comprising an aspect of the substantially autonomous                    of the first housing and communicatively coupled to the
vehicle and wherein the braking system is engaged at least 35 some of the plurality of non - transient computer-readable
in part in response to the one or more onboard computer                 storage mediums by one or more data channels including a
systems and /or remote computer systems which may be                    wireless and / or wired communications network . Each of the
inclusive of the one or more processors processing infor -              plurality of processors may be located within the same
mation during a time period which may be a third time                   housing , or some of the plurality of processors may be
period , corresponding to a detected and/ or perceived auto - 40 located within a first housing , and some of the plurality of
motive vehicle located such that without engaging the                   processors may be located outside of the first housing and
braking system at least in part, the substantially autonomous           communicatively coupled to the some of the plurality of
vehicle would collide at least in part with the detected and/or         processors within the first housing by one or more data
perceived automotive vehicle along the substantially                    channels including a wireless and /or wired communications
autonomous vehicle ' s current navigation path to a location 45 network . Some of the plurality of processors and someof the
which may be a third location , or which may be the second              non -transient computer-readable storage mediums may
location . The at least the one braking system may be                   communicate via one or more communications channels ,
engaged at least in part for at least 0 .09 seconds, which may          including a wireless and/ or wired communications network .
or may not be determined by a determination algorithm to                A first processormay be communicatively coupled to at least
ensure compliance . The automotive vehicle causing the 50 one of a plurality of non - transient computer -readable storage
engagement at least in part of the braking system may be               mediumsvia at least one communications channel including
detected via one or more cameras , sensors , other imaging              a wireless and /or wired communications network . A first
devices , rangefinders , light detection systems, sonar detec - non - transient computer - readable storage medium away be
tion systems, sound detection systems, vibrational detection    communicatively coupled to at least one of a plurality of
systems, electromagnetic detection systems, ultrasound 55 processors via at least one communications channel includ
detection systems, radar detection systems, processing one              ing a wireless and / or wired communications network . A first
or more received electromagnetic signals comprising infor-              processor and a plurality of non -transient computer-readable
mation on the automotive vehicle , other detection device,              storage mediums comprising the first non - transient com
program , or some combinations thereof, and the like. The              puter readable storage medium may be located within the
period of time, which may be the third period of time, may 60 first housing . A first non -transient computer- readable storage
occur immediately subsequent to the second time period .               medium and a plurality of processors comprising the first
  In some embodiments, the various processmethods of the               processor may be located within the first housing. In some
present disclosure may be combined , or performed simul-                embodiments , one or more processors of the first processor
taneously , or substantially simultaneously .                  and one or more non -transient computer -readable storage
  In one ormore embodiments of the present disclosure , the 65 mediums of the first non - transient computer- readable stor
processor and the non - transient computer -readable storage   age medium may be connected via a hard -wired communi
medium may each comprise a single processor and a single                cations channel (i.e . a wired communications network , or an
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electrical channel which may or may not include one or               radiation , electromagnetic , sound , sonar, radar, infrared ,
more intervening components ), or a combination of a wire -          laser, ultrasound, vibrational, combinations thereof, and the
less communications channel (i. e. a wireless communica -            like .
tions network ) and a hard -wired communications channel                In the present disclosure , detection systems, perception
(i. e . a wired communications network , or an electrical 5 systems, sensing systems, and the like, may be used inter
channel which may or may not include one or more inter -              changeably .
vening components ), or a wireless communications channel               In the present disclosure , information data or information
(i. e . a wireless communications network ). In some embodi-         on the emergency vehicle may comprise a speed of the
ments, a non - transient computer- readable storage medium            emergency vehicle , a locational position of the emergency
may be stored on a third party computer system as opposed 10 vehicle , a parameter of the emergency vehicle , such as
to being located at the substantially autonomous vehicle . A         emissions characteristics : vehicle type , vehicle shape, alpha
processor and a non -transient computer-readable storage             numeric characteristics, symbol characteristics, other emis
medium may be located on the same chip or otherwise                   sion characteristics , dimensional characteristics, color
integrated in some manner. Other appropriate derivatives or aspects , vehicle orientation aspects , vehicle destination or
alternatives may apply .                                       15 other travel characteristics , vehicle external component
   In the present disclosure , “ emissions” may refer to light, characteristics , internal component of the vehicle character
thermal radiation , electromagnetic , sound , sonar, radar,          istics , combination thereof, and the like .
infrared , laser, vibration , ultrasound , combinations thereof,        To reiterate , in the present disclosure " at least one
and the like ( e .g . one or more of any signal along the            of . . . , and /or . . . ” means " all ” ( as defined by " and" and
electromagnetic spectrum , audio spectrum , and the like ) 20 in the context of " at least one of" ) or “ one or more” (as
which a component one or more of coupled to , attached to     defined by “ or ” and in the context of " at least one of" ) and
integrated with , or communicatively coupled to the substan -        therefore collectively “ at least one of . . . , and/or . . . ” means
tially autonomous vehicle is able to capture , and may refer         " all or one or more ” wherein at least two elements precede
to other emergency vehicle identification aspects and char -         " and /or” and one element is immediately subsequent to
acteristics which generally is captured and / or analysed via 25 " and /or” . For example , in the context of the appended
light emission aspects, infrared emission aspects, electro -    claims: “ at least one of an alert to perform a manoeuvre to
magnetic emission aspects , sound emission aspects, etc .,      avoid obstructing an /the emergency vehicle, an alert to
including , but not limited to , shapes , depths , dimensions, perform a manoeuvre at a pre - determined time, a position of
colour gradients , texturing, orientations , symbols , external the emergency vehicle , a parameter of the emergency
vehicle component characteristic , internal vehicle compo - 30 vehicle , a path planning data differing at least in part from
nent characteristic , any other captured data that can be used       the second planned path , and / or a speed of the emergency
to identify an emergency vehicle , images, motion -images,           vehicle ” “ and/ or" means " all or one ormore ” . Of course , one
and the like, or any combinations thereof. Emissions includ          or more variants of this phrasing may be used which may
ing light, thermal radiation , electromagnetic, sound , sonar,       mean the same, as those with ordinary skill in the art will
radar, infrared , laser , vibration , ultrasound , combinations 35 readily understand .
thereof, and the like ( e .g . one or more of any signal along the      In the present disclosure " at least one of. . . or . . . ” means
electromagnetic spectrum , audio spectrum , and the like ) " one or both ” (as defined by “ or” and in the context of " at
may be used in identifying the one or more characteristics    least one of” and wherein one element precedes “ or” and one
associated with an emergency vehicle , as well as other types element is immediately subsequent to “ or” ). For example, in
of emissions data such as , but not limited to , images, 40 the context of the appended claims: " at least one of
motion - images , textual data , outline of physical structure       identify . . . or process . . . ” etc . “ or ” means “ one or both ” .
data , and /or the like. In the instance of electromagnetic          Of course , one or more variants of this phrasing may be used
“ emissions” , an antenna may emit an electromagnetic signal         which may mean the same, as those with ordinary skill in the
and capture data as a result of receiving an electromagnetic         a rt will readily understand .
signal that is returned via reflection , refraction , etc . off an 45 In the present disclosure , " during ” as defined in the
aspect of the external environment to the substantially              context of one or more time periods is preferably defined as
autonomous vehicle wherein a characteristic of the electro -         comprising at least a part of a time period , at least an aspect
magnetic signal is analysed . Alternatively , or in combination      of a time period , and the like .
with this , electromagnetic “ emissions ” may refer to captur -         In the present disclosure , reference to “ first” and “ sec
ing data as a result of receiving an electromagnetic signal 50 ond ” , etc ., in the context of one or more components or steps
from an aspect of the external environment wherein a                 or elements , etc ., does not necessarily mean that “ first” and
characteristic of the electromagnetic signal is analysed .           “ second” are immediately consecutive or immediately adja
Those with ordinary skill in the art will readily recognise          cent in terms of a process method or a component structure ,
additional methods in which the external environment may             respectively , but are simply used in order to provide clarity
be at least in part mapped via one or more of transmitting or 55 and to avoid potential confusion or ambiguity regarding
receiving an electromagnetic signal. “ Emissions ” , as defined  components , steps , processes , elements , and the like .
in the context of the present disclosure , refers to empirical     In some embodiments , programmatic instructions may
data about one or more external objects to the substantially         enable one or more audio signals to be emitted from one or
autonomous vehicle that is able to be captured by one or             more audio signal emitting devices able to emit one or more
more perception and / or sensing systems and / or detection 60 audio signals into the interior passenger area of a substan
systems and /or communications modules, which generally               tially autonomous vehicle . Examples include audio speak
involves capturing and /or analysing light emissions, infrared        ers, audio input/output devices , combinations thereof, and
emissions, electromagnetic emissions, sound emissions,               the like. Audio signals may include music , speech , internal
sonar emissions, etc . or other process methods not described        environmental sounds, external environmental sounds, com
by the present disclosure , but within the grasp of one with 65 binations thereof, and the like .
ordinary skill in the art. A preferred embodiment, may                  In the present disclosure , “ computer ” , " computing sys
further encompass , as necessary, emissions such as thermal           tem " , " system " , and the like are to be understood , where a
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" computer” , “ computing system " , and / or " system ” is asso        sarily all embodiments , a determination algorithm may not
ciated with a substantially autonomous vehicle as compris               be performed to ensure that the interruption signal interrupts
ing one or more components of a substantially autonomous                the requirement for the substantially autonomous vehicle to
 vehicle , which may include one or more components com -       navigate to specifically less than a 92 . 1 to 93 . 4 meter
municatively coupled to the substantially autonomous 5 distance from the first location ; in some embodiments , but
vehicle . One of ordinary skill in the art will readily under - not necessarily all embodiments , a determination algorithm
 stand what such components are .                               may not be performed to ensure that the engaging at least in
    In the present disclosure , a " data channel” should be     part of a braking component for a continuous portion of time
recognised as one or more wireless channels to enable the         is of a continuous duration of at least 0 . 31 seconds and less
transfer and reception of data , as one or more wired channels 10 than 2102 seconds ; in some embodiments, but not neces
to enable the transfer and reception of data , and / or combi           sarily all embodiments , a determination algorithm may not
nations thereof, as the application required . Wireless data            be performed to ensure the substantially autonomous vehicle
channels may be any one or more conventional wireless                   does not navigate to within or less than 20 .2 to 22 . 5 of the
communications channels ( e . g . wireless communications          second pre- determined location for at least 7 . 8 to 9 . 5 sec
network ) recognisable to those with ordinary skill in the art. 15 onds. Other such examples may apply . Hence , to reiterate ,
Similarly, wired channels may be any conventional wired                 one ormore programmatic instructions, and /or one or more
communication channel ( e . g . wired communications net                systems may simply be capable of performing one or more
work , electrical conductive connection between at least two            functions/ operations that happen to fall within the one or
components that may or may not have one or more inter -                 more parameters or limitations described above or elsewhere
vening components in -between , etc ) recognisable to those 20 during the natural course of operation (and other such
with ordinary skill in the art. Such wired and/or wireless              parameters and limitations which may be relevant).
channels are to be recognised as a direct wireless connec                   To reiterate, In the present disclosure , " capable of'',
tion , a direct wired connection , a direct wired connection , an       " operable to " , or " have the capacity to ” , “ has the capacity
indirect wired connection , a wireless communications net-              to ” , or “ having the capacity to " , or other variants thereof,
work , a wired communications network , or a combination 25 means programmed and/ or designed such to perform a
wired and wireless communications network , etc ., as those function but the function does not necessarily have to be
with ordinary skill in the art will readily understand .    executed , but is merely capable of being executed or per
   In the present disclosure, with regards to one or more   formed . Systems, processes, components , and /or elements
preferred and alternative embodiments , programmatic                    thatmay be capable of performing a function may also be
instructions may perform one or more of the functions . 30 capable of performing one or more other functions not
Programmatic instructions operable to perform one function              explicitly described . “ Capable of” is a term of art (hence, so
may or may not also be operable to perform one or more                  are its equivalents ).
additional functions.                                                      In the present disclosure , a processor may comprise a
   To reiterate, in the present disclosure, the one or more             general processor, generic processor, special purpose pro
component( s ), system (s ), computer( s ), processor (s ), pro - 35 cessor, combinations thereof, and the like.
grammatic instruction ( s ), etc may ormay not execute deter -         It is to be understood that the descriptions of the compo
mination algorithms, or their equivalents or substantial nents comprising a substantially autonomous vehicle is not
equivalents thereof, to ensure that one or more defined                 meant to be limiting and that other components , or plurality
parameters are being met. One or more component(s ),                    of described components, substitutes of described compo
system (S ) , computer ( s ), processor( s ), programmatic instruc - 40 nents , are within the spirit and scope of the present disclo
tion ( s ), etc , may simply be capable of performing the one or        sure .
more defined parameters under certain conditions or during                In one or more of the embodiments of the present disclo
the course of normal operation to achieve one or more                   sure , the identification of an emission correlating with a
results or required results without performing determining              proximal emergency vehicles may be performed and a
algorithms to ensure compliance with one or more defined 45 manoeuvre actuated in order for the substantially autono
parameters (e . g . simply occurs during the natural course of          mous vehicle to avoid being an obstruction to the emergency
operation ). For example, in some embodiments , but not                 vehicle along the emergency vehicle 's current route wherein
necessarily all embodiments , a determination algorithm may         a     sensor and /or an emission -perception or emission -detec
not be performed to ensure that the substantially autono -              tion detection device that is one or more of coupled to ,
mous vehicle is positionally located further than or equal to 50 attached to , communicatively coupled to , or integrated with ,
31 to 33 . 3 meters from the first location ; in some embodi-    the substantially autonomous vehicle is detected by the
ments , but not necessarily all embodiments , a determination     computing system or another controller to be at least par
algorithm may not be performed that indicates the substan       t ially non - functional. For example , a rangefinder may be
tially autonomous vehicle is greater than 20 .2 to 22.5 meters          detected to be operating at less than an optimal performance ,
from the second location ; in some embodiments , but not 55 or the computing system or another controller may detect
necessarily all embodiments , a determination algorithm may             that a camera is not transmitting data to be processed by the
not be performed to ensure that the navigational manoeuvre              computing system or another controller.
is performed at a determined speed of between 0 .0001 km /h                It is to be understood that the one or more embodiments
and 130 km / h ; in some embodiments , but not necessarily all          of the present disclosure may be performed by a third party
embodiments , a determination algorithm may not be per - 60 computational system , such as a road - side assist computa
formed to ensure that the second location is at least further  tional system , or a substantially autonomous vehicle dis
than or equal to 20 .9 to 21. 3 from the first location in any patch control computational system , which may be a back
direction ; in some embodiments , but not necessarily all               end system for a plurality of substantially autonomous
embodiments , a determination algorithm may not be per -                vehicles, or a further one or more substantially autonomous
formed to ensure that an at least one emergency vehicle is 65 vehicles, combinations thereof, and the like, and communi
within or less than a 200 .02 km radius of the substantially            cated to the substantially autonomous vehicle via one or
autonomous vehicle ; in some embodiments , but not neces -              more wireless and/ or wired communications networks .
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Communications to the substantially autonomous vehicle                process an interruption signal retrieved at least in part
via one or more wireless and /or wired communications                    from a second electromagnetic signal,
networks may comprise the empirical and /or analysed data ,           wherein the interruption signal interrupts the substantially
or instructional information based upon the analysed empiri 5            autonomous vehicle from navigating to the first pre
cal data .                                                               determined location : and further wherein the interrup
  It is to be understood that one or more process methods                tion signal is processed
may be combined , split, rearranged into a different order ,        immediately prior to processing a first braking instruction
steps omitted , steps repeated consecutively or non -consecu and a first data decrypting instruction
                                                                 and immediately consecutive to processing a control data
tively steps added , variants added , derivatives added , and packet    :
the like , without departing from the spirit and scope of the 10 recognize
present disclosure .                                                         the interruption signal corresponds to a third party
                                                                 system   foreign
   It is to be understood that in some embodiments one or wherein the interruptionto the substantially autonomous vehicle; and
                                                                                            signal is indicative of a cancellation
more path planning and /or mapping and/ or localisation may of a requirement for the substantially        autonomous vehicle to
be performed remotely at least in part and transmitted
                                               smitted by
                                                       by           navigate to the first pre -determined location, and
way of one or more wireless and / or wired communications 15
                                                          15 further wherein the interruption signal corresponds to an
networks to the substantially autonomous vehicle . For              second input signal registered at the first user -interface of the
example , the remote location may be a central processing           first mobile communications device ;
centre/network /back -end system which may be a cloud               immediately and ire direct response to the processing of the
based system for issuing commands and signals to a plural           interruption signal,
ity of substantially autonomous vehicles.                           process a second pre-determined location for the substan
   In some embodiments , one or more computationalmod               tially autonomous vehicle to navigate to and perform a
ules may be located in the cloud , or otherwise located second path planning for the second pre determined loca
remotely, and operable to affect the one or more mechanical tion , wherein the second pre - determined location is retrieved
aspects of the substantially autonomous vehicle via a wire    at least in part from a third electromagnetic signal and
less and/ or wired communications link .                   25 further
   It is to be understood that the one or more process                wherein the second pre - determined location corresponds
methods of the present disclosure are not limited to one                 to a second input signal registered at a second user
computer program , butmay comprise one or more computer                  interface of a second mobile communications device
programs working concurrently , simultaneously, substan                  being physically separate to the substantially autono
tially simultaneously, and the like . The one or more process 30      mous vehicle :
methods of the present disclosure may operate continuously,         program instructions stored on the non -transient com
discontinuously, combinations thereof, and the like, as the           puter -readable storage medium , the non - transitory pro
 application requires.                                                 gram instructions operable to during a second time
    It is to be understood that the description of the embodi         period :
ments , preferred embodiments , etc . and the present disclo - 35 process a third - predetermined location for the substan
 sure is not intended to be limiting. Those with ordinary skill        tially autonomous vehicle to navigate to ,
 in the art will readily recognise other derivatives, embodi        wherein the third predetermined location is retrieved at
ments, substitutes, and the like, that falls within the spirit         least M part from a fourth electromagnetic signal and
 and scope of the presentdisclosure and the appended claims.           further
                                                                 40 wherein the third pre -determined location corresponds to
     The invention claimed is :                                        a third input signal registered at a third user interface of
    1 . A system comprising
    a processor and a non -transient computer - readable storage       a third mobile communications device being physically
       medium ,                                                        separate to the substantially autonomous vehicle :
   wherein the processor and the non -transient computer - 45         initiate a third path planning ;
     readable storage medium are at least one of connected            navigate the substantially autonomous vehicle towards
      or communicatively coupled via a data channel,                     the third pre -determined location :
   the system comprising :                                             identify an emission that corresponds to an emergency
   program instructions stored on the non -transient com                  vehicle from an aspect of a captured empirical data
     puter- readable storage medium , the non transitory pro - 50     manoeuvre the substantially autonomous vehicle to avoid
      gram instructions operable to during a first time period :         obstructing a route of the emergency vehicle ; and
   process a first pre -determined location for the a substan         wherein the manoeuvre occurs wherein the substantially
     tially autonomous vehicle to navigate to ,                          autonomous vehicle is greater than 20 . 2 to 22 . 5 meters
   wherein the first pre - determined location is retrieved at            from the third pre -determined location , and wherein the
     least in part from a first electromagnetic signal, and 55           manoeuvre is performed at a speed of between 0 .0001
     further wherein the first pre -determined location cor              km / h and 130 km /hr.
     responds to an first input signal registered at a first           2 . The system of claim 1 , wherein the manoeuvre further
     user - interface of a first mobile communications device       comprises engaging at least in part a braking component and
     being vobicle
            physically separate to the substantially autono         an indicating component.
     mous vehicle ;.                                                  3 . The system of claim 1, further including storing the
   initiate a first path planning;                                  aspect of the captured empirical data in the non -transient
   navigate the substantially autonomous vehicle towards            computer- readable storage medium .
     the first pre -determined location ;
